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United States Court
1S
Southern District Of Texas

UNITED STATES DISTRICT COURT FILED
SOUTHERN DISTRICT OF TEXAS W
HOUSTON DIVISION AN 27 2029

David J. Bradley, Clerk of Court
UNITED STATES OF AMERICA, ’

Plaintiff—-Respondent,

ck
H-18-176 a

Civil.No. 4:19-CV-4360

Vs. Case No.

Nee Ne NU Ne SU et

Babajide Tolulope Babatunde,
Petitioner [Movant] )

MOTION FOR SUMMARY JUDGMENT
(Fed .R.Civ.©. 56(a)) |

The Honorable District Judge:

COMES NOW, Babaj.ide Tolupe Babatunde (herinafter Petitioner),
having fully cured the defense of the United States Government by
withdrawing his appeal at the appellate court to establish
finality and jurisdiction of this honorable court, move for summary
judgment in favor of the Petitioner's 2255 motion to vacate, set

aside or correct sentence to vacate or set aside the judgment.

Grounds for Motion

 

Petitioner contends and asserts that summary judgment

should be rendered in favor of Petitioner because:

1.
There is no genuéne dispute as to any material facts and
claims in the United States' response to invalidate the claims
of the petitioner other than the fact that defendant has not
establish extraordinary circumstance and the pending of 2 .o.i.on¢
Petitioner's appeal at the Court of Appeals bar jurisdiction of

the DasStrict Court.
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Petitioner was able to cure’ :this by withdrawing his appeal from
the appellate court to establish jurisdiction on the district
court even though there is no jurisdictional bar for the
adjudication of 2255 motion even while appeal is pending.

Petitioner was also able to establish extraordinary circumstance.

2.

On these undisputed facts, Petitioner is the party entitled
to judgment as a matter of law because:

Petitioner established claims of ineffective assistance of
counsel. Having fully satisfied the two standardized prongs of
Strickland, Petitioner hereby establish cause and prejudice.
Petitioner establised that misrepresentations, bad faith and
continous disloyalty of his ex-counsel has deprived Petitioner of
his Sixth Amendment. Acts which rose to the level to be seen as
complete denial and erroneous representation.

Court has made clear that there “is no""single, inflexible
criterion" that must be met in order for an error to be deemed
"structural" and prejudicial per se. Instead, the court
identified that a error may be deemed "structural" because the
type of constitutional violation that accured is one that
necessarily renders a trial fundamentally unfair and deprived
Petitioner of ‘basis protections' without which "a criminal
trial cannot reliably serve its function as a vehicle for
determination of guiltyor innocence and no criminal, punishment
may be regarded as fundamentally fair" Errors such as "the

complete deprivation of counsel have been classified as
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structural error. See, United States v. Gonzalez—-Lopez, 548 U.S.

140, 148-49(2006), Puckett v. United States,(2009), Meder v.

 

United States, Washington v. Rechenco,(2006).

 

3.

Petitioner contends that the pertinent facts of this case
are fully developed in the record before the court because this
court can “adequately access Petitioner's claims without further
factual development" See, Turner v. Crosby, 339 F.3d 1244,1275
(11th Cir.2003)

Petitioner has preponderance of evidences to establish his
claims of ineffective assistance of counsel. Please, see some
attached exhibits (marked"material evidence A). This exhibits
shows proofs of misrepresentations, disloyality and conflicts of
interests.

Thus to prove actual conflict, a defendant must "point to
specific instances! inthe: recora"and make a factual showing of
inconsistent interests,: see,Thomas v. Foltz, 818 F.2d 476,481
(6th Cir.1987)(quoting from- United States v. Mers, 701 F.2d
1321, 1328 (11th Cir.1983).

In motions filed where ex-counsel expressively pronounces or

 

 

declares himself as attorney to another defendant on motions

' submitted as entries on Petitioner's docket, motion for notice
of appearance admitting and openly declaring loyalty to another |
defendant is complete denial of counsel. Also on the record,

ex-counséi was hoping the Appellate Court will dismiss ~~
Petitioner's appeal on grounds of non-compliance, which is why
he chose to undermine the Federal Rule of Appellate Procedure
" (FRAP) and the court of appeals by refusing to pay for the
filing fee and made transcript order despite the fact that

Petitioner had specifically made the funds available to him.

See, Attached material evidence Cc.
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4,

Petitioner's ex-counsel was ineffective and denied him Due
Process when he failed to investigate the initial complaint or
police report that led to the issuance of warrant of arrest and
indictment of Petitioner.

Ex-counsel failed to question or investigate the credibility
of the affiant's report. Had that been done, he would have found
out that said report was either fabricated, falsely asserted or
reckless disregard for the truth-under no circumstance will any
grand jury or even a-fair jury return a verdict of guilt on ssuch
report that lack specificity. Please, find attached Exhibit 2
[Marked MAterial evidence Bi. Thus, a defective complaint or
affidavit may not be saved by police testimony that they have
additional facts. See, Whitely v. Warden,(1971).

A criminal defendant i€ guaranteed, through the Due Process
Clause, a trial free from fundamental unfairness including any
unfairness which stems from blatantly incompetent counsel. See,

Clark v. Balckburn, 619 F.2d 431 (5th Cir.1980). Petitioner's

 

ex-counsél's failure to prepare for trial played a major role
in coercing him to plea guiltty.

Hence, a conviction. on a guilty plea that is entered
solely as a result of faulty !legal advise is a miscarriage of

justice. See, United States v. Scott,625 F.2d 523 (5th Cir.1981)

 
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5.

Where the court held that "the constituion constrains on
ability toiallocate as me see fit»the cost of Ineffective
Assistance of counsel, the Sixth Amendment mamdates that the
state or the United States bears the-risks of constitutionally
deficient assistance of counsel. See, Kimmelman v. Morrison, 477
U.S. 365, 91 L.Ed 2d 305, 106 S.Ct 2574(1986).

It will not even Ao for a prisoner to wait any longer than
is reasonably necessary to prepare appropriate moving papers,
however ‘inartistic, after discovery of the deception practiced

upon him by his attorney *333 F.2d at 381 United States v. Moore,

 

[supra United States v. Wiggins, 184 F.Supp. at 676]. Hence,

 

con@ittiows incarceration of Petitioner will amount to denial of
"protected!! rights due process, constituional rights as well as
a denial of the write of Habeas Corpus.

Where any limitation upon the power of the Habeas Corpus is
clearly uncostitutional.
It is clearly recognized by the constitution in Article 1,
Section 9. The scope and flexibility of the writ,its capacity to
veach’-all-tanner iof illegal detention... Its ability to cut
through barries of forms and procedural makes have always been
emphasized and jealously guaranteed by courts and law makers.
The very nature of the writ demands that it be administered with
initiative and inflexibility essential to'insure that
miscarriage of justice within its reach are surface and

corrected.
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| 6.

Having filed a complaint against ex-counsel at The State
Bar of Texas and an investigation for just cause, for
professional misconduct or disability or both is on going,
petitioner is confident that he will succeed on the merits. The
court has held that: Texas Disciplinary Rule prohibiting lawyers
from engaging in conduct that is prejudicial to administration of
justice is not unconstitutionally overboard or vague. See,

Howell v. State Bar of Texas, 843 F.2d 205 (5th Cir.1988).

 

Conclusion
Petitioner prays that this courttconstrue his pleading as

Pro Se in line with Estelle v. Gambel, 429 U.S.[94] ati%06[1976].

 

Based on these grounds and pursuant to Fed.R.Civ..P. 56(a),
Petitioner hereby move this court for a summary judgment in favor
of the Petitioner..to vacate his sentence pursuant to 28 U.S.C.
2255. And also order his immediate release as an immediate cure
for the irreparable injury in the interest of justice anda

restore of public confidence in the court.

Respect submitted

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Babajide“fetlilope Babatunde
Reg.# 39323479

Reeves County Detention Center
P.O.Box 2038

Pecos,Texas 79772

Pro Se

 
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VERIFICATION
I have read the foregoing "Motion for Summary Judgment"
and hereby verify that the matters alleged therein are true,
except as to matteres alleged on information and belief, and as
to those, I believe them to be true. I certify under the penalty

of perjury that the foregoing is true and correct. Executed at

4

|
Reeves County III Detention Center on this day th January,2020.,

 

Babajide Tolulope Babatunde
Petitioner, Pro Se
BOP # 39323479

CERTIFICATE OF SERVICE
I certify under the penalty of perjury that the foregoing
"Motion for Summary Judgment" was placed into prison's internal
mail system, Certified mail to "The Clerk, United States District
Court, Southern District of Texas at 515 Rusk St,., Houston, TX.

77002. The Petitioner asks this court's clerk to serve all

other parties via alectronic notification.

  

 

Babajide Tolulope Babatunde
Petitioner, Pro Se

BOP # 39323479

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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

 

United States of America

versus Case Number: 4:18—cr—00176

Babajide Tolulope Babatunde

NOTICE OF NON-COMPLIANCE

The appellant or counsel for the appellant has failed to:

e Pay the notice of appeal filing fee.
e Submit the DKT13 transcript order form.

Date: August 21, 2019.

David J. Bradley, Clerk

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Case 4:18- eeu r-00176 ieee

IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

UNITED STATES OF AMERICA

V. Criminal No: 18-CR-176

BABAJIDE TOLULOPE BABATUNDE

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NOTICE OF APPEARANCE AND DESIGNATION OF LEAD COUNSEL FOR
DEFENDANT BABAJIDE TOLULOPE BABATUNDE

 

Please take notice that the following attorneys are entering an appearance for

Defendant, Babajide Tolulope Babatunde, and will serve as lead counsel and attorney in charge

in the above numbered and entitled cause:

Eric L. Rhodes
The Rhodes Law Firm, p.c.
Texas State Bar No. 24025611
Federal ID No. 34798
eric@rhodeslawwins.com
6588 Corporate Dr., Suite 200 toh
Houston, Texas 77009 Me ant
Telephone: (832) 404-2552 . “
Telecopier: (832) 404-25554 wv?
[oo ey
. Dennis F. Spurling pom
Texas State Bar No. 18974400 |
Federal ID No.0749 /
attyspurling75@gmail.com
601 Sawyer St., Ste. 200.
Houston, Texas 77007
Telephone: (713) 523-4050
Telecopter: (713) 229-8444

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Messr. Rhodes and Spurling an are -e currently admitted to practice in in the Southern District of Texas
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Respectfully Submitted,
The Rhodes Law Firm, p.c.

/s/ Eric L. Rhodes — Co ~ Lead Counsel
By: Eric L. Rhodes

Federal Id. 34798

State Bar No. 24025611

6588 Corporate Dr., Suite 200

Houston, Texas 77036

Telephone: (832) 404.2552
Facsimile: (832) 404.2554

Electronic Mail: eric@rhodeslawwins.com

Dennis F. Spurling

/s/ Dennis F. Spurling — Co — Lead Counsel
By: Dennis F. Spurling .
Texas State Bar No. 18974400
Federal ID No.

601 Sawyer St., Ste. 200.
Houston, Texas 77007
Telephone: (713) 523-4050
Telecopier: (713) 229-8444
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CERTIFICATE OF SERVICE

Plaintiff certifies that on April 20, 2018 a true and correct copy of the Defendant Babajide
Tolulope Babatunde foregoing instrument was transmitted by electronic transmission through
the court to the attorneys of record.

/s/ Eric L. Rhodes
Eric L. Rhodes
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UNITED STATES DISTRICT COURT
' SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION
UNITED STATES OF AMERICA §
Vv. : CRIMINAL NO. 18-176
BABAJIDE TOLULOPE BABATUNDE :
PLEA AGREEMENT
The United States of America, by and through Ryan K. Patrick, United States Attorney for
the Southern District of Texas, and Jay Hileman Assistant United States Attorney, and the
defendant, Babajide Tolulope Babatunde (“Defendant”), and Defendant’s counsel, Eric L. Rhodes,
pursuant to Rule 11(c)(1)(A) and (B) of the Federal Rules of Criminal Procedure, state that they
have entered into an agreement, the terms and conditions of which are as foliows:
Defendant's Agreement
1. Defendant agrees to plead guilty to Count One of the Indictment. Count One
charges Defendant with false use of a passport, in violation of Title 18, United States Code, Section
1543. Defendant, by entering this plea, agrees that he is waiving any right to have the facts that
the law makes essential to the punishment either charged in the indictment, or proved to a jury or
proven beyond a reasonable doubt.
Cooperation
2. The United States reserves its option to seek any departure from the applicable
sentencing guidelines, pursuant to Section 5K of the United States Sentencing Guidelines Manual,
or Rule 35(b) of the Federal Rules of Criminal Procedure, if in its sole discretion, it is determined

that such a departure is appropriate. In that regard:
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(a) Defendant agrees that this plea agreement binds only the United States Attorney for
the Southern District of Texas and Defendant; it-does not bind any other United States
Attorney or any other unit of the Department of Justice with the exception of the DOJ
Organized Crime and Gang Section;
(b) Defendant agrees to testify truthfully as a witness before a grand jury or in any other
judicial or administrative proceeding when called upon to do so by the United States,
Defendant further agrees to waive his Fifth Amendment privilege against self-|
incrimination for the purpose of this agreement;
(c) Defendant agrees to voluntarily attend any interviews and conferences as the United

States may request;

(d) Defendant agrees to provide truthful, complete and accurate information and
testimony;
(e) Defendant agrees to provide to the United States all documents in his

possession or under his/her control relating to all areas of inquiry and investigation.

Punishment Range
3. The statutory maximum penalty for each violation of Title 18, United States Code,
Section 1543, is imprisonment of not more than ten years and a fine of not more than $250,000.
Additionally, Defendant may receive a term of supervised release after imprisonment of three
years. See Title 18, United States Code, sections 3559(a)(3) and 3583(b)(2). Defendant
acknowledges and understands that if he should violate the conditions of any period of supervised

release which may be imposed as part of his sentence, then Defendant may be imprisoned for the
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up to two years, without credit for time already served on the term of supervised release prior to
such violation. See Title 18, United Stated Code, sections 3559(a)(3) and 3583(e)(3). Defendant
understands that he is not eligible for parole.
Mandatory Special Assessment

4. Pursuant to Title 18, United States Code, section 3013(a)(2)(A), immediately after
sentencing, Defendant will pay to the Clerk of the United States District Court a special assessment
in the amount of one hundred dollars ($100.00) per count of conviction. The payment will be by
cashier's check or money order, payable to the Clerk of the United States District Court, c/o District
Clerk’s Office, P.O. Box 61010, Houston, Texas 77208, Attention: Finance.

Immigration Consequences

5. Defendant recognizes that pleading guilty may have consequences with respect to his
immigration status if he is not a citizen of the United States. Defendant understands that if he is
not a citizen of the United States, by pleading guilty he may be removed from the United States,
denied citizenship, and denied admission to the United States in the future. Defendant’s

attorney has advised Defendant of the potential immigration consequences resulting from

\1.-

Defendant’s plea of guilty. d. 7

‘Waiver of Appeal and Collateral Review qh .

6. DefgfdanNsg aware that Title 28, United States Cod®ssection 1291, and Title 18,

‘\United Stgfes Code, sectionS742, afford a defgfhdant the right to appeal the génviction and

senteftg€ imposed. Defendant is also aWare thgf Title 28, United States Code, sgCtida2255, affords
the r/ght to contest or “collaterally attack” A convittign or sentence after thejudgment of convistign

and sentence has become final. Defefdant knowingly and Vohuntarily waives the right to appeal

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or “collaterally attack” the conviction and sentence, extepjAhat Defendant does not waive the right
to raise a claim of ineffective assistance of counsel on direct appeal, ifdtherwise permitted, or on
collateral review in a motion under TiWe 28, United Stafes“Code, section 2255. In the event

Defendant files a notice of appeal followingthe-smposition of the sentence or later collaterally

   

attakks his conviction or sentence, the fitted States will assert its rights under this agreement and

seek shtecific performance ofthis waiver.

   
   
 
    
  
 

are that a sentence has not yet been

  

7\ In agreeing to these waivers, Defendant is a
determined Py the Court. Defendant is also aware that any\estimate of the pgssible sentencing

range under the sentencing guidelines that she may have received frerfi his counsel, the United

Defendant further understangs“and agrees that the United States Sentencitg Guidelines _¢

See United States v. Booker, 125 eX. 738 (2005).

    
   
  

“effectively advisory?to the Cd
Accordingly, D€éfendant understands that, although the Co ust consult the\Sentencing
Guideljpés and must take them into accouxt when septehcing Defendant, the Court is mgt bound
to follow the Sentencing Guidelines nor senferice Defendant within the calculated guideline Nange.

8. Defendant understandsehd agrees that each and all waivers contained in the Agreement

are made in exchange for the concessions made by the United States in this plea agreement.

The United States’ Agreements
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9. The United States agrees to each of the following: |

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(a) — If Defendant pleads guilty to @eund [EVeINAGT the indictment listed in this
agreement and persists in that plea through sentencing, and if the Court accepts this
plea agreement, the United States will move to dismiss any remaining counts of the
indictment at the time of sentencing;

(b) If Defendant qualifies for an adjustment under section 3E1.1(a) of the
United States Sentencing Guidelines, the United States agrees not to oppose
Defendant’s request for an additional one-level departure based on the timeliness
of the plea or the expeditious manner in which Defendant provided complete
information regarding his role in the offense (if Defendant's offense level is 16 or
greater).

Agreement Binding - Southern District of Texas Only

10. The United States agrees that it will not further criminally prosecute Defendant in the

Southern District of Texas for offenses arising from conduct charged in the indictment. This plea

agreement binds only the United States Attorney’s Office for the Southern District of Texas and

Defendant. It does not bind any other United States Attorney. The United States will bring this

plea agreement and the full extent of Defendant’s cooperation to the attention of other prosecuting

offices, if requested.

United States’ Non-Waiver of Appeal

11. The United States reserves the right to carry out its responsibilities under guidelines

sentencing. Specifically, the United States reserves the right:

(a) to bring its version of the facts of this case, including its evidence file and .

any investigative files, to the attention of the Probation Office in connection with
that office’s preparation of a presentence report;

(b) to set forth or dispute sentencing factors or facts material to sentencing;

(c) to seek resolution of such factors or facts in conference with Defendant’s
counsel and the Probation Office;

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(d) to file a pleading relating to these issues, in accordance with section 6A1.2

of the United States Sentencing Guidelines and Title 18, United States Code,

section 3553(a); and

(e) to appeal the sentence imposed or the manner in which it was determined.

Sentence Determination
12. Defendant is aware that the sentence will be imposed after consideration of the United
States Sentencing Guidelines and Policy Statements, which are only advisory, as well as the
provisions of Title 18, United States Code, section 3553(a). Defendant nonetheless acknowledges
and agrees that the Court has authority to impose any sentence up to and including the statutory
maximum set for the offense(s) to which Defendant pleads guilty, and that the sentence to be
imposed is within the sole discretion of the sentencing judge after the Court has consulted the
applicable Sentencing Guidelines. Defendant understands and agrees that the parties’ positions
regarding the application of the Sentencing Guidelines do not bind the Court and that the sentence
imposed is within the discretion of the sentencing judge. Ifthe Court should impose any sentence
up to the maximum established by statute, or should the Court order any or all of the sentences
imposed to run consecutively, Defendant cannot, for that reason alone, withdraw a guilty plea, and
will remain bound to fulfill all of the obligations under this plea agreement.
Rights at Trial
13. Defendant represents to the Court that he is satisfied that his attorney has rendered

effective assistance. Defendant understands that by entering into this agreement, he surrenders
certain rights as provided in this plea agreement. Defendant understands that the rights of a
defendant include the following:

(a) If Defendant persisted in a plea of not guilty to the charges, defendant would
have the right to a speedy jury trial with the assistance of counsel. The trial may

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be conducted by a judge sitting without a jury if Defendant, the United States, and
the court all agree.

(b)  Atatrial, the United States would be required to present witnesses and other
evidence against Defendant. Defendant would have the opportunity to confront
those witnesses and his attorney would be allowed to cross-examine them. In turn,
Defendant could, but would not be required to, present witnesses and other

~ evidence on his own behalf. If the witnesses for Defendant would not appear
voluntarily, he could require their attendance through the subpoena power of the
court; and

(c) Ata trial, Defendant could rely on a privilege against self-incrimination and
decline to testify, and no inference of guilt could be drawn from such refusal to
testify. However, if Defendant desired to do so, he could testify on his own behalf.

Factual Basis for Guilty Plea
14. Defendant is pleading guilty because he is in fact guilty of the charges contained in
Count One of the indictment. If this case were to proceed to trial, the United States could prove
each element of the offense beyond a reasonable doubt. The following facts, among others would
be offered to establish Defendant's guilt:

On or about November 3, 2015, the Defendant used a counterfeit passport from the
Republic of Ireland, number #PB8039169, in the name Jobi Johnson, to open a bank account
at Capital One Bank in Houston, Texas. The passport contained a photograph of the
Defendant but used a fictitious name. Special Agent Katherine Langston of the United States
Department of State, Diplomatic Security Service, examined the passport and determined that
it was counterfeit. The case agent was able to obtain and review the passport documents and
photographs associated with the bank account and obtain pictures of the suspect using the
counterfeit passport. These were compared to photographs of the defendant found in his A file

and demonstrate that it is the defendant that committed this offense.

Breach of Plea Agreement
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15. If Defendant should fail in any way to fulfill completely all of the obligations under
this plea agreement, the United States will be released from its obligations under the plea
agreement, and Defendant’s plea and sentence will stand. If at any time Defendant retains,
conceals, or disposes of assets in violation of this plea agreement, or if Defendant knowingly
withholds evidence or is otherwise not completely truthful with the United States, then the United
States may move the Court to set aside the guilty plea and reinstate prosecution. Any information
and documents that have been disclosed by Defendant, whether prior to or subsequent to this plea
agreement, and all leads derived therefrom, will be used against defendant in any prosecution.

Restitution, Forfeiture, and Fines — Generally
16. This Plea Agreement is being entered into by the United States on the basis of

Defendant’s express representation that he will make a full and complete disclosure of all assets

‘over which he exercises direct or indirect control, or in which he has any financial interest.

Defendant agrees not to dispose of any assets or take any action that would affect a transfer of
property in which he has an interest, unless Defendant obtains the prior written permission of the
United States.

17. Defendant agrees to make complete financial disclosure by truthfully executing a
swom financial statement (Form OBD-500 or similar form) within 14 days of signing this plea
agreement. Defendant agrees to authorize the release of all financial information requested by
the United States, including, but not limited to, executing authorization forms permitting the
United States to obtain tax information, bank account records, credit histories, and social security
information. Defendant agrees to discuss and answer any questions by the United States relating

to Defendant’s complete financial disclosure.
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18. Defendant agrees to take all steps necessary to pass clear title to forfeitable assets to
the United States and to assist fully in the collection of restitution and fines, including, but not
limited to, surrendering title, executing a warranty deed, signing a consent decree, stipulating to
facts regarding the transfer of title and the basis for the forfeiture, and signing any other documents
necessary to effectuate such transfer. Defendant also agrees to direct any banks which have
custody of her assets to deliver all funds and records of such assets to the United States.

19. Defendant understands that forfeiture, restitution, and fines are separate components
of sentencing and are separate obligations.

Restitution

20. Defendant agrees to pay full restitution to the victims for all relevant conduct
regardless of the count of conviction. Defendant understands and agrees that the Court wiil
determine the amount of restitution to fully compensate the victim(s). Defendant agrees that
restitution imposed by the Court will be due and payable immediately and that Defendant will not
attempt to avoid or delay payment. Defendant waives the right to challenge in any manner,

including by direct appeal or in a collateral proceeding, the restitution order imposed by the Court.

Fines
21. Defendant understands that under the Sentencing Guidelines the Court is permitted to
order Defendant to pay a fine that is sufficient to reimburse the government for the costs of any
imprisonment or term of supervised release, if any. Defendant agrees that any fine imposed by

the Court will be due and payable immediately, and Defendant will not attempt to avoid or delay
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payment. Defendant waives the right to challenge the fine in any manner, including by direct

appeal or in a collateral proceeding.

Complete Agreement
22. This written plea agreement, consisting of /4. pages, including. the attached
addendum of Defendant and his attorney, constitutes the complete plea agreement between the
United States, Defendant, and Defendant’s counsel. No promises or representations have been
made by the United States except as set forth in writing in this plea agreement. Defendant
acknowledges that no threats have been made against him and that he is pleading guilty freely and
voluntarily because he is guilty.

23. Any modification of this plea agreement must be in writing and signed by all parties.

 

Filed at Houston, Texas, on Octrbur 30 , 2018.

BABAJIDE TOLULOPE BABATUNDE

 

Subscribed and sworn to before me on Oe Cb s e , 2018.

DAVID J. BRADLEY, Clerk
UNITED STATES DISTRICT CLERK

By: ALE

Deputy United States District Clerk

 

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Case 4:18-cr-00176 Document 31 Filed in TXSD on 10/30/18 Page 11 of 12

 

 

APPROVED:
Ryan K. Patrick
United States Attorney
By: ey] dvloue éD . |
Assjsta: ited States Attorney Attorney for Defendant
Southe strict of Texas

PLEA AGREEMENT -- ADDENDUM

I have fully explained to Defendant his rights with respect to the pending indictment. I
have reviewed the provisions of the United States Sentencing Commission’s Guidelines Manual
and Policy Statements and I have fully and carefully explained to Defendant the provisions of
those Guidelines which may apply in this case. I have also explained to Defendant that the
Sentencing Guidelines are only advisory and the court may sentence Defendant up to the maximum
allowed by statute per count of conviction. Further, I have carefully reviewed every part of this
plea agreement with Defendant. To my knowledge, Defendant’s decision to enter into this

agreement is an informed and voluntary one.

C2 a> Q~ fP- 3v-~2018

Defendant’s Attorney Date

 

 

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Case 4:18-cr-00176 Document 95 Filed on 01/27/20 in TXSD Page 23 of 66
Case 4:18-cr-00176 Document 31 Filed in TXSD on 10/30/18 Page 12 of 12

I have consulted with my attorney and fully understand all my rights with respect to the
indictment pending against me. My attorney has fully explained, and I understand, all my rights
with respect to the provisions of the United States Sentencing Commission’s Guidelines Manual
which may apply in my case. Ihave read and carefully reviewed every part of this plea agreement

with my attorney. I understand this agreement and I voluntarily agree to its terms.

ID - 3O- Raw
Defendant Date

 

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS HOUSTON DIVISION

UNITED STATES OF AMERICA §
vs. § CRIMINAL NO. H- 18-CR-176

BABAJIDE TOLULOPE BABATUNDE §

DEFENDANT'S MOTION TO PREVENT THE
PROSECUTION WITNESSES FROM INTRODUCING IMPERMISSIBLE
CHARACTERIZATIONS OF HEARSAY EVIDENCE AND ITS SOURCE

TO THE HONORABLE JUDGE:

Defendant requests the Court instruct the Assistant U.S. Attorney not to elicit
hearsay probable cause information before the jury and shows the following

1. Police officers in this case received information from an informant or other
witness which focused their investigation upon the defendant.

2. It is common practice for police officers to describe such information as "a tip
from a confidential informant" or "a tip from a reliable informant" or other
characterizations that imply the reliability of hearsay information, assumes
facts not in evidence and invades the province of the jury to fairly determine
the credibility of the information.

3. To allow the jury to hear such hearsay information will allow it to hear

inadmissible evidence to the prejudice of the Defendant.
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To allow the police officers to characterize the source of the hearsay
information as "a reliable informant", "a confidential informant", "a reputable
citizen", or even "a witness" assumes facts not in evidence before the jury and
unfairly prejudices the defendant.

For these reasons, the Defendant requests the Court instruct the Assistant
United States Attorney to not ask open ended questions before the jury which
will elicit probable cause hearsay, or characterize the source of such
information that led to the arrest of the Defendant.

Respectfully Submitted,

The Rhodes Law Firm, p.c.

/s/ Eric L. Rhodes — Co — Lead Counsel
By: Eric L. Rhodes

Federal Id. 34798

State Bar No. 24025611

6588 Corporate Dr., Suite 200

Houston, Texas 77036

Telephone: (832) 404.2552

Facsimile: (832) 404.2554

Electronic Mail: eric@rhodeslawwins.com

Dennis F. Spurling

/s/ Dennis F. Spurling — Co — Lead Counsel
By: Dennis F. Spurling

Texas State Bar No. 18974400

Federal ID No. |

 
 

601 Sawyer St., Ste. 200.

Houston, Texas 77007

Telephone: (713) 523-4050

Telecopier: (713) 229-8444
attyspurling75@emal com ,

  

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CERTIFICATE OF SERVICE

Plaintiff-céitifies-that.on,.May,,2,,20,18. a true and correct copy of the Defendant’s
foregoing instrument was transmitted by electronic transmission through the court
to the attorneys of record.

/s/ Eric L. Rhodes
Eric L. Rhodes
Cage gel 4-48001061 7RocpBaNNet B8ecsNe@ ba U2\BVIXHPTXSDe PAGE A6of 5

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS HOUSTON DIVISION

UNITED STATES OF AMERICA §

vs. . § CRIMINAL NO. H- 18-CR-176

BABAJIDE TOLULOPE BABATUNDE §

DEFENDANT'S UNOPPOSED MOTION FOR CONTNUANCE

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:
Defendant BABAJIDE TOLULOPE BABATUNDE requests Court to
continue the sentencing date trial date in this cause, and in support of such motion

shows:

1. This cause is set for sentencing on March 7, 2019. This Defendant's second
request for a continuance in this matter, and first request for a continuance on
the sentencing date in this matter.

2. The Presentence Investigation Report was completed and served on counsel
for Defendant on January 23, 2019. The Government had no objections to the
Presentence Investigation report.

3. Defendant’s objections to the Presentence Investigation Report is February 6,
2019.

4, The final Presentence Investigation Report is due by March 1, 2019, and as

referenced above, sentencing in this matter is set for March 7, 2019.
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On October 30, 2018, I plead guilty to Count One of the Indictment against
me for the unlawful and false use of a passport, in violation of Title 18, United
States Code, Section 1543.

Factually, Defendant plead guilty to the facts that on or about November 3,
2015, Defendant used a counterfeit passport from the Republic of Ireland,
number #PB8039169, in the name Jobi Johnson, to open a bank account at
Capital One Bank in Houston, Texas. The passport contained Defendant’s
photograph, but used a fictitious name. On March 14, 2016, the Capital One
Account received a wire transfer for $56,700.00.

In the Presentence Investigation Report, the government alleges fraudulent
deposits in the amount of $1,435,272.71, which translated into a 14 point
offensive level increase pursuant to U.S.S.G. §2B1.1(b)(1)(10)!.

Defendant first learned of the alleged $1,435,272.71 fraud on his receipt of
the Presentence Investigation Report on January 23, 2019.

Moreover, as set forth in the Presentence Investigation’ Report, “The
fraudulent deposits caused unspecified actual losses to various financial
institutions which have not been determined.”

Given the obvious impact of the above referenced alleged ‘fraudulent
amount’, Defendant request a continuance on Sentencing Date of March 7,
2019 in order to allow Defendant additional time to further investigate the

government’s allegations of harm referenced hereinabove.

This request for continuance is not for delay only, but that justice may be
done.,

 

' Presentence Investigation Report, Page 8, Paragraph 20.
*Id., at Page 6, Paragraph 14.
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12. For these reasons, defendant asks the court to continue the Sentencing Date

on this matter for at least 60 days.
Respectfully Submitted,
The Rhodes Law Firm, p.c.

/s/ Eric L. Rhodes — Co — Lead Counsel
By: Eric L. Rhodes

Federal Id. 34798

State Bar No. 24025611

6588 Corporate Dr., Suite 200

Heuston, Texas 77036

Telephone: (832) 404.2552

Facsimile: (832) 404.2554

Electronic Mail: eric@rhodeslawwins.com

Dennis F. Spurling

/s/ Dennis F. Spurling — Co — Lead Counsel
By: Dennis F. Spurling

Texas State Bar No. 18974400

Federal ID No.

601 Sawyer St., Ste. 200.

Houston, Texas 77007

Telephone: (713) 523-4050

Telecopier: (713) 229-8444
attyspurling75(@gmail.com

ATTORNEYS FOR DEFENDANT
Case 4:18-cr-00176 Document 95 Filed on 01/27/20 in TXSD Page 30 of 66

The Rhodes Law Firmc.

ATTORNEYS AT LAW:

6588 Corporate Drive Suite 200 Houston, Texas 77036 © Phone: 832.404.2552 Fax: 832.404.2554
: www.thodeslawwins.com

 

 

ERIC L. RHODES
Shareholder

Mobile: 713-291-5521

Email: eric@rhodeslawwins.com

November 8, 2019

Via: USPO

Babatunde, Babajide 39323479
Reeves County Detention Center #3
P.O. Box 2038

Pecos, Texas 79772

Re: Criminal No. H- 18-CR-176; United States Of America vs Babajide
Tolulope Babatunde in The United States District Court Southern District
Of Texas Houston Division

Case infotmation

Dear Mr. Babatunde,

Pursuant to your request for a copy of your case, please find the following: Case pleadings
and case discovety. If there is anything else that you need please, do not hesitate to contact me.

Respectfully Submitted,
THE RHODES LAW FIRM, P.C.
[sf Eric L. Rhodes

Eric L. Rhodes
ELR/cg

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION
UNITED STATES OF AMERICA §

 

vs. § CRIMINAL NO-HesieRepsar
§

MEMORANDUM IN SUPPORT OF MOTION FOR
EARLY DISCLOSURE OF JENCKS ACT AND RULE 26.2 MATERIAL

 

 

1. Disclosure of information impeaching a witness' credibility must be timed to
enable effective preparation of trial. United States v. Polisi, 416 F.2d 573, 578 (2nd
Cir. 1969); United States v. Baxter, 492 F.2d 150, 173-74 (9th Cir. 1973), cert. denied,
Al7 US. 940 (1974). See United States v. Opager, 589 F.2d 799 (Sth Cir. 1979). As

pointed out in United States v.Pollack, 534 F.2d 964, 973 (D.C. Cir. 1976) (Lumbard,

 

J., sitting by designation):

a) Disclosure by the government must be made at such time as to allow
the defense to use the favorable material effectively in preparation and
presentation of its case, even if satisfaction of this criterion required
pretrial disclosure. See, e.g., United States v. Elmore, 423 F.2d 775,
779 (4th Cir. 1970); United States v. Deutsch, 373 F.Supp. 289, 290-91
(S.D. New York 1974). See also, Grant v. Alldredge, 498 F.2d 376, 382

(2d Cir. 1974); Clay v. Black, 479 F.2d 319 (6th Cir. 1973) (per curiam).
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2. In the Fifth Circuit, the prosecution must, of course, produce requested
evidence which is materially favorable to the accused either as direct or impeaching
evidence. The appropriate time is as early as possible to enable defense counsel
effectively to use it in preparing the case for trial. Compare United States v.
Campagnuolo, 592 F.2d 852 (Sth Cir. 1979), with United States v. Opage, 589 F.2d
799 (5th Cir. 1979). Indeed even when the favorable information takes the form of
a witness statement otherwise protected from pretrial discovery by the Jencks Act
(18 U.S.C., Section 3500), the prosecution must nonetheless disclose it as far in
advance of trial as due process may practically require for the defense to make fair
use of it. United States v. Campagnuolo, supra.

3. In Moore's Federal Practice, it is stated that "[a]lthough the literal terms of the
statute do not require the government to turn over '3500 material' until the witness
has testified, where there is a large volume of such material the Court should require
a turnover in advance of the testimony to avoid delaying the trial while counsel
peruses the material." Section 16.10(1) at p.177.

4. In the event this Motion is denied, the Defendant further requests that the
Government comply with the dictates of the law by tendering all such material to
defense counsel outside the presence of the jury.

5. As stated in Gregory v. United States, 369 F.2d 191 (D.C. Cir. 1966): [i]t is

familiar law that prior consistent statements are not admissible in evidence, and
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consequently it is improper to require a procedure, in exercising Jencks Act righis,

 

which may permit the inference that the prior statements received are consistent with
the witness’ testimony on trial. We perceive no reason, other than to prejudice the
defendant in the exercise of his Jencks Acts rights, to require defense counsel to
request and receive Jencks Act statements in the presence of the jury.

Respectfully Submitted,

The Rhodes Law Firm, p.c.

/s/ Eric Lk. Rhodes — Co — Lead Counsel
By: Eric L. Rhodes

Federal Id. 34798

State Bar No. 24025611

6588 Corporate Dr., Suite 188

Houston, Texas 77009

Telephone: (832) 404.2552

Facsimile: (832) 404.2554

Electronic Mail: eric@rhodeslawwins.com

Dennis F. Spurling

/s/ Dennis F. Spurling — Co — Lead Counsel

 

By: Dennis F. Spurling

Texas State Bar No. 18974400
Federal ID No.

601 Sawyer St., Ste. 200.
Houston, Texas 77007
Telephone: (713) 523-4050
Telecop ier: (7) 229- 8444

 

 
 

through the oe to the attorneys of record.

/s/ Eric L. Rhodes
Eric L. Rhodes
 

SANS vIaeHh Be TE rHeA UR UBMODTR APRA Page Pot 7
tel’

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

 

 

HOUSTON DIVISION

UNITED STATES OF AMERICA §

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Vv § Criminal-Noz

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ORDER

On this day came on to be heard Defendant's Motion for Hearing to Determine
Intelligibility of Tapes and Accuracy of Transcripts, and the Court having considered

the same, it is hereby, in all things GRANTED/DENIED.

SIGNED this 20.

 

U.S. DISTRICT JUDGE
 

 

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778838-17 onze
HOUSTON POLICE DEPARTMENT .
Reported Date
ON Tastee hay Depew 06/20/2017 .
a Hrieliiestale em Offense Report Title - .
P 713-894-3131 Emergency Died 1-1 Investigation - Forgery/Fraud/Counterfeit
. - ee - Officér Name : :

‘BURGESS, BE

  

TEENS information

 
   
  

   
 

 
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

     
 
 

   

   

 

 

 

 

 

 

 

Agency Incident # . Reported Time

HOUSTON POLICE DEPARTMENT 778838-17 08:52

Status | Olfansa Repart Title - -
Report Written or to Follow ‘Investigation - Forgery/Fraud/Counterfeit *

“CAD Gall Type

RMSR eee . ; _ we

Address , : City .

4955 N SH 6 . AWY . | HARRIS co

ZiP Code DistvBeat Stailon District From Date From Titrie =| Primary Unit .
| 77084 HCSO oc | 00 Lopnosreeiey| 12:00 | 3935" me

Officer Name / Employeet# ‘Division . °

BURGESS, B E / 106124 BNT - Financial Crimes

Report Entered By / Employea#t Division

BURGESS, B E / 106124 BNT - Financial. Crimes

RMS Transfer Property Trans Stat Weather Estimated Loss Value Language Transtator

Successful | Successful | Clear None: or. Not Applicable No Translator Used

Gang Crime | Hate Crime | Family violence | Foster Care Facility [ Mental Iinass | Metal Theft | Offense County

No No No No No No | Harris County

Approving Officer Approval Date Approval Time

106124 06/20/2017 09:34:34

# Offenses | Offense . Description : Complaint Typs -

Investigation - Forg | Citizen Request
MN

REP | 1 1567855
Race

W M 01/01/1972 _|{
Report Officer =” Printed At

 

 

106124/BURGESS. B E- 107/28/2017 11:22 i Pade 1 of 5
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Case 4:18-cr-00176 Document 95 Filed on 01/27/20 in TXSD Page 38 of 66

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778838-17 onze

HOUSTON POLICE DEPARTMENT —

    

Reportee 1: BOYDEN,MATTHEW

Involvement

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Invi No | Type Namo {LastFirst Mi) ~ :

Reportee | 1 | Individual BOYDEN, MATTHEW .

MNI: Race : Sex DOB Age Juvenlla? | PRN

1567855 | White or White Hispanic Male | 01/01/1972 | 45 No 2408398

Reported Date . te

0 06 /20/2017

Type

Work / Business . .

Address * . . . . ...|_DisvBeat

1200 TRAVIS Ce “ “| TALO
“Map Coordinates . City State | ZIP Code | Date

-95.366974/29.755999 |Houston ._ .. | Texas | 77002 | 0672072017, 7 Ty /
Phone Type Phone No , Date ° ae a _—

       
   

Work / Business (713) 223-4512

. [06/20/2017
Modus Operandi _ 7

! Gang Act? | Premise Type ~

No_ | Road, Street, or Sidewalk _.
NBRS = ; = . a
BVNO oo, oo 7 _ oF
BWC Video(s)
Body Video No(No Camera Issued)

Se S LE La

 

 

 

 

 

 

   
 
   

THE SUSPECT USED A FABRICATED PASS PORT TO OPEN A BANK ACCOUNT : -
Narrative __ ; a

 

INCIDENT# © 778838-17

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INTRODUCTION

Jn na onininiinniiinei kde tone dobin inane dnd anni inn nitonicieinnteninendieiienk

OFFICER B.E.BURGESS, ASSIGNED TO THE HOUSTON POLICE DEPARTMENT FINANCIAL CRIMES
UNIT, ON A TUESDAY, JUNE 20, 2017, WAS MADE AWARE OF THIS INCIDENT_THAT-INVQLVED A
TAMPERING WITH A GOVERNMENT DOCUMENT. THE INCIDENT OCCURRED AT THE, EARSEN
GONVENIENCE-BANI-CLOGATED AT @O5S=HUVY-6:NiINeHOUSTON aREXAS_ON. AUGUST-3; BOS:

- —

OFFICER BURGESS BEGAN THIS INVESTIGATION. ere

EKEEKKHEERKEKERER KE RER EERE EERE SE LEK KERR RERE EEE HAE ENEEE EERE KERBE ERE ERE NE

COMPLAINANT INTERVIEW

RRA AA TAAL IRE IARI RE REI EER IHRE RK IE IRIE ETRE ER EE IIL EERIE EEE BIE

4 ON JUNE 20, 2017, OFFICER BURGESS WAS CONTACTED BY UNITED STATES POSTAL INSPECTOR
MATTHEW ,BOYDEN TO DISCUSS THIS INVESTIGATION AND THE DISCOVERY OF A FABRICATED

weft VY be tk va

<< GHANIAN PASSPORT USED BY THE SUSPECT TO OPEN A FAR =IRST_CONVENIENCESBANTERCE OU

INSPECTOR BOYDEN AND THE UNITED STATES POSTAL INSPECTION SERVICE (USPIS) HAVE BEES
WORKING WITH THE HOUSTON POLICE DEPARTMENT FINANCIAL CRIMES UNIT TO COMBAT A
GROWING FRAUD TREND IN HOUSTON, TEXAS. FOR THE PAST YEAR, THEY HAVE BEEN
INVESTIGATING NUMEROUS BUSINESS E-MAIL COMPROMISE (BEC) COMPLAINTS. A‘BEC FRAUD IS
DESCRIBED AS A SOPHISTICATED SCAM TARGETING BUSINESSES THAT REGULARLY PERFORM WIRE

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HOUSTON POLICE DEPARTMENT oa

ETL sy

 

TRANSFER PAYMENTS. - THE SCAM IS CARRIED OUT BY COMPROMISING LEGITIMATE BUSINESS
E-MAIL ACCOUNTS THROUGH SOCIAL ENGINEERING OR COMPUTER INTRUSION TECHNIQUES TO
CONDUCT UNAUTHORIZED TRANSFERS OF FUNDS. MOST. VICTIMS REPORT USING WIRE TRANSFERS
AS ACOMMON METHOD OF TRANSFERRING FUNDS FOR.BUSINESS PURPOSES; HOWEVER, SOME
VICTIMS REFORT USING CHECKS AS A COMMON METHOD OF PAYMENT. THE FRAUDSTERS WILL USE
THE METHOD MOST COMMONLY ASSOCIATED WITH THEIR VICTIM'S NORMAL BUSINESS PRACTICES.

WHEN THE INVESTIGATIONS FIRST STARTED, IT APPEARED MANY SUSPECTS WERE OPENING BANK
ACCOUNTS USING THEIR TRUE NAMES AND INFORMATION. THE ACCOUNTS WOULD RECEIVE BEC
WIRES AND OTHER DEPOSITS FROM FRAUD VICTIMS. IN SHORT ORDER THE INVESTIGATION

* IDENTIFIED HUNDREDS OF ADDITIONAL BANK ACCOUNTS OPENED WITH COUNTERFEIT PASSPORTS
IN AND AROUND HOUSTON THAT WERE FUNDED WITH FRAUDULENT BEC WIRE TRANSFERS. ALL OF
THESE WIRES INVOLVE THE USE OF INTERSTATE WIRE.COMMUNICATIONS FACILITIES. MANY OF THE
FRAUDULENT ACCOUNTS ALSO RECEIVED FUNDS THAT WERE STOLEN FROM VICTIMS OF OTHER
ON-LINE AND INTERNET FRAUDS, LIKE "ROMANCE" AND "LOTTERY" FRAUD. ALL PASSPORTS AND US
VISAS MENTIONED IN THESE REPORTS AS COUNTERFEIT AND FRAUDULENT HAVE BEEN
DETERMINED TO BE SUCH BY SPECIAL AGENTS: WITH THE DEPARTMENT OF STATE, DIPLOMATIC -
SECURITY SERVICE.

THE FOLLOWING IS 4 PARAPHR) SED STATEMENT GIVEN TO OFFICE
BOYDEN: Se

URGESS .BY INSPECTOR

  
  

 

 

 

 

   

     

 

 

SUSPECT ENTERED, AEIRST CONVENENCESANTOCAESY BE
PORT ¥RO465560 IN THE NAME “JUSTIN ABE" TO

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te sreaors THE
; NORTH AND USED A CHIANAIAN

 

ED-NAME-GER} FICATE FOR ABEJ MEDICAL:

UST. 3; 2045; AT THE FIRST CONVENIENCE

    
 
 

  
 

(SAME -PASSPORT QFOBTAIN A HARRIS COUNTY ASSU
SUPPLIES. THE BANK ACCOUNT WAS OPENED ON AUGt

BANK LOCATED INSIDE AN HEB STORE LOCATED AT 4958-HIGHWAY-6.N- HOUSTON: F HARRIS: =COUNTY,
TEXAS 77084. THE BUSINESS ACCOUNT WAS OPENED IN THE-NAME ABEJ: MEDICAL SUPPLIES AND
LISTED AN ADDRESS OF 12035 HUFFMEISTER RD. #937,. CYPRESS, IX T1429.

INSPECTOR BOYDEN STATED THAT HE WAS PROVIDED WITH A STILL PHOTOGRAPH FROM A q
SURVEILLANCE CAMERA AT THE FIRST CONVENIENCE BANK THAT WAS TAKEN OF THE SUSPECT {
WHILE OPENING THE NEW ACCOUNT. iNSPECTOR-BOYDEN.STATED_1 THAT HE REVIEWED-TH

RECTOGRAPH AND. ZED D THE SUSPECT. INSPECTOR-BOXDEN-STALED-THAT HE RNOWS-THET
(SUSPECT BY-NAt uA S,BABAJIDE TE)

 

 
 

 

 

 

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SCENE DESCRIPTION

REEREERERER A REREE ER IR ERIE RENAE ATR EH IEE HERA IR EIA I RIA EIR ELA EEA SBIR,

re
THE OFFENSE OCCURRED AT (-FIRST-CONVENIENGE-BANK_LOGATED-AT 45 55 HW6-NN

_ HOUSTON, HARRIS COUNTY, TEXAS.

 

[ Report Officer | Printed at
* "Case 4:18-cr-00176 Document 95 Filed on 01/27/20 in TXSD Page 40 of 66

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778838-17 av.
HOUSTON POLICE DEPARTMENT |

 

| pes

CASE DISPOSITION:

ERE RRR RAERERIRREER

THIS CASE WILL BE CLEARED ARREST AND CHARGES FILED.

CACF.L CACF .....eeeeee CACK

CASE DISPOSITION: (MARK ONLY ONE CATEGORY) J ‘

ALL CATEGORIES INCLUDE ADULTS AND JUVENILES ARRESTED OR REFERRED

[XXXX] ARRESTED AND CHARGED IN THIS CASE*
{ ] ARRESTED AND CHARGED IN OTHER CASES* (SUSPECT WILL NOT TO BE CHARGED IN THIS CASE}

*THE SUSPECT'S FULL NAME AND ADDRESS MUST BE LISTED UNDER THE PERSON'S TAB IN THE
SUPPLEMENT REPORT THAT IS USED TO CLEAR THE CASE.

[ ] LACK OF PROSECUTION BY D.A. FOR NON-EVIDENTIARY REASON”
[ ] LACK OF PROSECUTION BY COMPLAINANT

“THE IDENTITY OF THE OFFENDER 1S ESTABLISHED; THERE IS ENOUGH INFORMATION TO SUPPORT
AN ARREST, CHARGE, AND PROSECUTION. ALSO THE EXACT LOCATION OF THE OFFENDER IS_
KNOWN; THERE IS SOME REASON BEYOND LAW ENFORCEMENT CONTROL THAT PROHIBITS THE |
ARREST AND/OR THE CHARGING OF THE OFFENDER. THE SUSPECT'S FULL NAME AND ADDRESS .
MUST BE LISTED UNDER THE PERSON'S TAB IN THE SUPPLEMENT REPORT THAT IS USED TO CLEAR
THE CASE. ;

[ ] DEATH OF DEFENDANT
[ ] UNFOUNDED (INCIDENT DID NOT OCCUR)

[ ] INACTIVE -NO FURTHER LEADS

_ [ ] INACTIVE - ARREST WARRANT FILED

[ ] INACTIVE - PENDING GRAND JURY REFERRAL
f ] INACTIVE - PENDING LAB ANALYSIS

[ ] CLOSED BY INVESTIGATION (ONLY FOR CASES TITLED INVESTIGATION)
[ ] CLOSED BY SEIZURE OF MONEY

[ ] CLOSED BY SEIZURE OF VEHICLE

{[ ] CLOSED BY REFERRING TO OUTSIDE AGENCY

| ] CASE OPEN AND ACTIVE
[ | CASE TRANSFERRED TO ANOTHER DIVISION |

 

 

 

| Report Officer - ~ : {Printed At es
Case 4:18-cr-00176 Document 95 Filed on 01/27/20 in TXSD Page 41 of 66
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778838-17 = 5001
ON POLICE DEPARTMENT

Reported Date -
Police Deparment 06/21/2017
“s Suet a2 ; Offense Report Title
‘3131. Emergency Biel Gast Investigation - Forgery/ Fraud/Counterfeit -
etatertoretenremsertestaetets em , : Officer Name

BURGESS, B E '

     

INSEE O cere iCe) e

   

 

 

 

 

 

 

Incident # Suppt No /| Reparted Date eported Time
ILICE DEPARTMENT 778838-17. [ [06/21/2017 fea: : 27
_ | Offense Report Tite
itten or to Follow Investigation - ~~rorgery/: eréad/ Counterfeit
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eet CA ivision
3 E / 106124 BNT - Financial Crimes

 

 

 

nployea# . Division
3 £ / 106124 BNI - Financial Crimes
Properly Trans Stat Appraving Officer —~ Approval Date Approval Tima
tL | Successful | 106124 06/21/2017 14:27:24
: Description Complaint Type ~

 

 

 

 

 

10 a Investigation - Forg | Citizen Request

     
 

 

 

 

‘RESTED AND CHARGED

 

778838-17

IN T@-FOLLOW-UP-INVESTIGATION:

KAKA RAE EKERE ERE REI REA ERITREA

20, 2017, OFFICER B.E.BURGESS, ASSIGNED TO THE FINANCIAL CRIMES UNIT, WAS
41S CASE FOR THE PURPOSE OF A FOLLOW-UP INVESTIGATION. THIS CASE WAS
CONJUNCTION WITH THE UNITED STATES POSTAL INSPECTOR'S OFFICE.

ENT REPORT WAS TITLED TAMPERING WITH A GOVERNMENT DOCUMENT.

 

Sayre.

INTOCCURRED ON‘AUGUST 3, 2016, A HE (A FIRST CONVENIENCE BANK BRANCH-LOCATED-
AWAY 6 NORTH, IN. HOUSTON, HARRIS. COUNTY, TEXAS. :

 
Case 4:18-cr-00176 Document 95 Filed on 01/27/20 in TXSD Page 42 of 66
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HOUSTON POLICE DEPARTMENT

MEU
[HE ORIGINAL-REPORT, ENTERED-BY;OFFICER B.E. BURGESS iAK ED= =] O<useeeINANGIAL==
CRIMES UNIT BETAILED-THE-INITIAL JESTIGATION- CONDUCTED-BY-UNITED STATES-POSTAL
AAgeeCHOR NE BOYDEN—TFHAT-FOUND- “THE. SUSPECT-USED-A-COUNTEREEIT PASSPORTE OBTAIN A
(BANICACCOUNT. .

778838-17 001

   
 
  
 

       

         

    

THIS FOLLOW-UP INVESTIGATION {DENTIFIED SEVERAL RELATED CASES TO.INCLUDE (IN
CHRONOLOGICAL ORDER): - .

HPD CASE# 465490-16 AND HPD CASE# 779322-17:

THE SUSPECT IN THE ABOVE INCIDENTS .
BABAJIDE BABATUNDE 8/M 01-06-84
WAS CHARGED WITH THE FOLLOWING FELONY:

GHARGE: FRAUD USE/POSS ID INFO
CAUSE #1506175
COURT: DC 351

CHARGE: TAMPERING WITH A GOVERNMENT DOCUMENT
CAUSE #1555912
COURT: DC 351

- PRELIMINARY FOLLOW-UP INVESTIGATION: .

KREMER EREIAKERERE RE ERR ENE TERE EERE MERE ERED

OFFICER BURGESS REVIEWED AND FAMILIARIZED HIMSELF WITH THE ORIGINAL OFFENSE REROR:
AND RELATED CASES. OFFICER: BURGESS DISCOVERED THE SUSPECT WAS INVOLVED IN MULTIPLE
INCIDENTS INVOLVING TAMPERING WITH A GOVERNMENT DOCUMENT.

OFFICER BURGESS MET WITH INSPECTOR M, BOYDEN TO DISCUSS | POSSIBLE CHARGES IN THIS
CASE AND THE PRESENTATION OF EVIDENCE TO THE HARRIS COUNTY DISTRICT ATTORNEY'S

OFFICE.

OFFICER BURGESS CONDUCTED RESEARCH REGARDING THE PERSONAL AND CRIMINAL “HisTORY,
AND WANTS OR WARRANTS ON THE INDIVIDUALS INVOLVED IN THIS CASE:

“eereeCRIMINAL HISTORY AND INFORMATION ON SUSPECT*******

NAME: BABATUNDE, BABAJIDE TOLULOPE © SID#: TX 16167759 ©
DOB: ° 01-06-84 FBI#: 611320NG8- _~ OT
R/S: BLACK/MALE oo SS#: NONE™ -

HTAVT: 5-08/190  -- HPD#: 1292125

SO# 2025463 _ - ; J

TXDL/TXID#: 34607101 OT eR

 

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, me Suppl No
a eo : 778838-17 — d001
HOUSTON POLICE DEPARTMENT —-. :

Narrative

TATTOOS, MARKS, SCARS: NONE

SUSPECT DRIVES: UNK

ADD: 14906 WESTPARK DR #634

CYCOISTIZIP: HOUSTON,HARRIS, TEXAS, 77082

ALTERNATE ADDRESS: NONE

WORK ADDRESS: NONE

HOME PHONE: NONE WORK PHONE: NONE ‘Vane

PHOTO ENCLOSED Y/N: NO PREVIOUS CRIMINAL HISTORY: TK 5

 

AT THE TIME OF THIS INQUIRY, THE SUSPECT WAS FOUND TO HAVE NO WANTS OR WARRANTS.

s

THE SUSPECT HAD THE FOLLOWING CRIMINAL HISTORY:
TOTAL ARRESTS 1 ‘

 

MOST RECENT OCCURRENCE OFFENSE SUMMARY . (
04-12-2016 1 FRAUD USE/POSS IDENTIFYING INFO # ITEMS §<10 . oO
LAST ARRESTING AGENCY TXHPDOG00 - HOUSTON POLICE DEPARTMENT

(EOLLOW-UP. INVESTIGATIONS:

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oe RAR ERARNEE RE EH EERE REE RARE HE RH

ON JUNE 20, 2017, OFFICER BURGESS MET WITH POSTAL INSPECTOR BOYDEN AND DISCOVERED
THE FOLLOWING DETAILS OF THIS INVESTIGATION:

INSPECTOR BOYDEN STATED THAT HE DISCOVERED (ON MARCH RCH 13, 20167 HE SUSPECT -
BABATUNDE USED A FABRICATER (GUINEAN PASSRO! OPEN A NEW ACeOUNT AT AFIRST--—~.
(CONVENIENCE BANK LOCATED _AT O55 HIGHWAX_6 NORTH, -IN-HOWSTON, HARRIS-COUNTY, TEXAS:
Mint

INSPECTOR BOYDEN STATED THAT HE HAS SPENT THE LAST YEAR INVESTIGATING AND ASSISTING
IN THE PROSECUTION OF. NUMEROUS SUSPECTS COMMITTING ILLEGAL WIRE TRANSFERS THROUGH
PORTS, INSPECTOR-BOYDEN,STATED THAT HE
RIJA-FIRST CONVENIENCE FRAUD INVESTIGATOR, REGARDING
MARCH~1: 5, 2015, AF A BRANCH LOCATED-AT-4985 HIGHWAY
GUIBEAN BASSEORT (NUMBER ROSES® eo

 
  

 

 

   
  
 
 
 
 
  

 

 
 

ANK IK Saehue THAT INCLUDED THE NEW ACCOUNT APPLICATION, A “COPY C OF THE
GUINEAN-PASSPORT-(NUMBER_R0465560), AND A SURVEILLANCE PHOTOGRAPH OF THE INDIVIDUAL
OPENING THE NEW ACCOUNT. .

\ INSPECTOR BOYDEN RECOGNIZED THE INDIVIDUAL DEPICTED IN THE SURVEILLANCE
‘PHOTOGRAPH AS THE SUSPECT BABAJIDE BABATUNDE. OFFICER BURGESS WAS ABLE TO OBTAIN A
RECENT BCOKING PHOTOGRAPH OF THE SUSPECT BABAJIDE BABATUNDE AND DISCOVERED THAT
THEE BOOKING-PHOTOGRAPH AND.THE. SURVEILLANCE . PHOTOGRAPH WERE THE SAME | INDIVIDUAL.

| GERICER BURGESS WAS ALLOWEDSTG EVIEW THE iE. GUINEAN PASSPORT —~(NUMBER-RO4 465560) S

 

 
 

| PRESENTED BY THE SUSPECT TOOPEN THE EIRST CONVENIENCE BANK ACCOUNT. OFFICER
"| BURGESS-WAS,ABLE-TO CONTACT: KATE LANDSTON,—AN INVESTIGATOR: WITH THE-UNHED-STATES
. STATE DEPARTMENT IN: HOUSTON, TEXAS=MRS. CANDSTON-WAS ABLE TO-VERIFV-THE

enn Septem meee eT

 

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Report Officer of Pea At ]
106124/BURGESS. B FE AwTi90 fants 14.448 ”

 

 
  
 

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778838-17 — Goo1
HOUSTON POLICE DEPARTMENT _ |
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AaseORPOMReTERRC PASSPORT. ane SALANDSTON INFORMED" OFFICER “BURGESS:THAT TF =|

        
      

THE. -PASSPORT- NUMBER (AS. EABRICATED?

EVIDENCE DISPOSITION:

ERRERERERKEREREREERERERE

ALL ORIGINAL EXHIBITS, TAPES, PHOTOS AND EVIDENTIARY ITEMS ARE BEING RETAINED BY
INSPECTOR BOYDEN. AND-ARE AVAILABLE .FOR REVIEW OR DUPLICATION. IF NECESSARY. |

PRESENTATION OF CASE TO DISTRICT ATTORNEY'S OFFICE:

RREKLE GI KRERRER KERRI K TEREST EERE EREERERE ERE RERR EERE

DAY: TUESDAY DATE: JUNE 20, 2017

OFFICER BURGESS ss (PRESEN SPB THIS-EARE TOSSED, WAKE!
CASEZAND:ACCEPTED THE FOLLOWING CHARGES:

   

SUSPECT: - ‘BABAJIDE BABATUNDE B/M 01-0684
CHARGE: TAMPERING WITH A GOVERNMENT DOCUMENT

ARREST WARRANT FILED (JUNE 20, 2017)

KIKKIK I REK KKEER EE KEKEER EEE EERE ER EERE ERE ERERRERER

ON JUNE 20, 2017, OFFICER BURGESS PROCEEDED TO ) THE HARRIS COUNTY DISTRICT ATTORNEY'S
OFFICE AND FILED THE FOLLOWING ARREST | WARRANT:

SUSPECT: BABAJIDE BABATUNDE B/M 041-0684
CHARGE: — TAMPERING WITHA GOVERNMENT DOCUMENT
CAUSE ## 1555911
COURT SET IN: DIST 351

BOND AMOUNT: NO BOND

emai

et
THE ABOVE- WARRANT WAS” “WALKED*-THROUGH-THE- HARRIS GQUNTY-COURT-SYSTEM-AND
WETIMATELY. SIGNED BY Y THE HONORABLE JUD JUDGE | BLANCA VIL LAGOMEZ/—

  

 

WARRANT SERVICE:

KEAEERAREEKEREARERKE

ON JUNE 21, 2017, OFFICER BURGESS AND SERGEANT J. KUCHTA, WITH THE HOUSTON. POLICE
DEPARTMENT FINANCIAL CRIMES UNIT SERVED THE ABOVE OPEN WARRANT. OFFICERS
DISCOVERED THAT THE SUSPECT BABATUNDE WAS SCHEDULED TO APPEAR IN HARRIS COUNTY
DISTRICT COURT 351 ON A PREVIOUSLY FILED CASE.

 

| Report Officer : oT Printed At |

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Case 4:18-cr-00176 Document 95 Filed on 01/27/20 in TXSD Page 45 of 66
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HOUSTON POLICE DEPARTMENT se

 

YET ee

THE SUSPECT WAS ARRESTED WITHOUT INCIDENT AND TAKEN FROM THE COURT TO THE 700
BLOCK OF CAROLINE, WHERE OFFICERS MET WITH TRANSPORT UNIT# 1Y27 (OFFICER K.E.
ROSBOROUGH). THE SUSPECT WAS TRANSPORTED TO THE CENTRAL JAIL FACILITY TO BE
PROCESSED. ,

HOLD RELEASE:

RERKERARRREREEE REE

ON JUNE 21, 2017, AT APPROXIMATELY “16:00 HOURS, AFTER THE AFIS:INFORMATION ON THE .

SUSPECT BABATUNDE WAS RETURNED, OFFICER BURGESS RELEASED THE HOLD ON THE SUSPECT.

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CASE CONCLUSION: : Se Bo ,

cee TERT,

,

THIS, ‘ASE INVOLVES A TAMPERING WITH A GOVERNMENT DOCUMENT THAT OCCURRED ON ©
ABOUT AUGUST 3" 2076: GieNieaOS5/HIGHWAY-G:NORTH, A LOCATION IN THE CITY LIMITS OF "HOUSTON,

HARRIS COUNTY, TEXAS. y
THE 1: SUSPECT-USED-A -COUNTERFEIT PASSPORT TO OBTAIN A BANK ACCOUNT.

INVESTIGATING OFFICER WAS ABLE TO GATHER EVIDENCE AND PRESENTED EVIDENCE TO THE
HARRIS COUNTY COURT HOUSE. ;

SUBSEQUENT FOLLOW UP INVESTIGATION ‘CONDUCTED BY GFFICER BURGESS RESULTED IN THE
CHARGING OF THE SUSPECT FOR TAMPERING WITH A GOVERNMENT DOCUMENT.

CHARGE INFORMATION:

HREREKKEEKEKEKEEKEREAAERE

CHARGE: TAMPERING WITH A GOVERNMENT DOCUMENT
CAUSE ## 1555911

COURT SET IN: DIST 351

BOND AMOUNT: NO BOND

SUSPECT STATUS:

ARRESTED AND CHARGED

[ Report Officer ~ | Prinied At J
Case 4:18-cr-00176 Document 95 cs on 01/27/20 in TXSD_ Page 46 of 66

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HOUSTON F POLICE DEPARTMENT | ok |

 

Reported Date
Ie Houston Polce Deparment 06/20/2017
- 1200 Tews Seat 2 : . Offense: Repart Title
FERBOPINM. Emergemiy Oia 61-2 Investigation ~ Porgery/Fraud/Counterfeit
eee nearer rernerevanantqeit 1 us ” Officar Name

 

BURGESS, B E

 
  
 

| Administrative Information j

 
     

       

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| Agency Incident # SupalNo | Reported Date "| Reponad Time
HOUSTON POLICE DEPARTMENT 779322-17 | ORIG /"0 6/20/2087", 10:44
Status ‘Offense Report Tie
Report Written or to Follow Investigation ~ Forgery /Fraud/Counterfeit
CAD Call Type
RMSR | - -
Address . . : . - Clty
5202 KIRBY DR Houston
ZIP Code Dist/Beat Station District =| From Date ] ‘From Time | Primary Unit
77088 , 1A50 CENT ol, 03/13/2015 | 12:00 [3935 .
Officer Name / Employee# Division : se
| BURGESS, BE / 106124 . | BNT - Financial Crimes |
| Report Entered By/ Employee? : Division
BURGESS, B E / 106124 BNT - Financial Crimes
RMS Transfer Property Trans Stat Weather Estimated Loss Value Language Translator
Successful | Successful | Clear Nene or Not Applicable No Translator Used
Gang Crime | Hate Crima | Family violence | Foster Care Facility | Mental IInesa | Metal Theft | Offense County
No No No No "No. No | Harris County J
Approving Officer _ Approval Date Approval Time
106124 06/20/2017 | 42:29:05
| # Offenses | Offerise . Description Gomplaint Type
1 | 27100 investigation - Forg Citizen Request

    

       
 
 

   

      

 

 

 

 

SL Summary
Invi No Typo Name (Last,First MI) . . i - / '
REP | 1 I BOYDEN , MATTHEW 1567855
Race Sex DOB . ‘
E M 01/01/1972 |

 

 

Report Officer : ~~) Printed At
Case 4:18-cr-00176 Document 95 Filed on 01/27/20 in TXSD Page 47 of 66
fh ”

HOUSTON POLICE DEPARTMENT.
Reportee 1: BOYDEN,MATTHEW

Involvement InviNo } Type Name (Last,First Ml) .
Reportee | 1 Individual BOYDEN, MATTHEW ;

MNI _. Race Sex DOB Age Juvenile? | PRN
--2567855—-White or White Hispanic | Male |-01/01/1972 | 45 No | 2407582

“| Reported Date ) : ° : ; °

\ | 06/20/2017__-

Type

Work / Business | . os
Address’ - . - . . . , “| Dist’Beat
1200 TRAVIS ; , . oo 1A10
Map Coordinates Cry a : ZiP Code : Dale i ~~

—95 .366974/29 .755999 Houston .Texas | 77002 — 06/20/2017

779322-17 onic

 
      
 

 

 

 

 

 

 

 

 

 

 

 

   

    
  

   

| Gang Act? Pramise Type Be

No Road, Street, or Sidewalk
NIBRS

BVNO
BWC Video(s}

Body Video No(No Camera Issued} —
me Brief Summary .
THE SUSPECT USED A FABRICATED PASS PORT TO OPEN A NEW BANK AGGOUNT :

 

 

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Narrative

 

INCIDENT# 779322-17 >

YE HOSSEIN SEI Ini Siena cbc oiniuaninbininidhiniibinnniniiciitieriiinerniniibaibier
INTRODUCTION

KREKEE EERAEEKL LER EEE REED EERE ERR REL EN IR K ER EERE ET HW EEE CER EE ERREREREE

OFFICER B.E.BURGESS, ASSIGNED TO THE HOUSTON POLICE DEPARTMENT FINANCIAL CRIMES
UNIT, ON A TUESDAY, JUNE 20, 2017, WAS MADE AWARE OF THIS INCIDENT THAT | ONE |
AMPERING. WITHA GOVERNMENT. DOCUMENT: THE INC ENT OCCURRED re THE! WELES LS FARGO.” |

955.1 HWY: “BNIN- OUST LON TEXASION MARC bisiSi203 5.

 
 

 

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OFFICER BURGESS BEGAN THIS INVESTIGATION.

HEMMER LEER UHRA EERE RR ER ER REEEEEK EEL KERR E LEER REAR REE ERERER

COMPLAINANT INTERVIEW

KEK EKEA KEKE REE E ERE KERE RE RREE RENE NIN IK IO EERE IKE EEE DECEIT E TEEN IK I KM Te

ON JUNE 20, 2017, OFFICER BURGESS WAS CONTACTED BY UNITED STATES POSTAL INSPECTOR
_ MATTHEW. BOYDEN_TO DISCUSS THIS INVESTIGATION AND THE DISCOVERY OF A _EABRICATED.

* Geigvans MAVANMPASSPORT, USED BY THE SUSPECT TO OPEN A-WELLS-FARGO-BANK-A ACCOUNT—Y,

ONSPECTOR BOYDEN AND THE UNITED STATES POSTAL INSPECTION SERVICE (USPIS) HAVE BEEN
WORKING WITH THE HOUSTON POLICE DEPARTMENT FINANCIAL CRIMES UNIT TO COMBAT A
GROWING FRAUD TREND IN HOUSTON, TEXAS. FOR THE PAST YEAR, THEY HAVE BEEN
INVESTIGATING NUMEROUS BUSINESS E-MAIL COMPROMISE (BEC) COMPLAINTS. A BEC FRAUD iS
DESCRIBED AS A SOPHISTICATED SCAM TARGETING BUSINESSES THAT REGULARLY PERFORM WIRE
TRANSFER PAYMENTS. THE SCAM IS CARRIED OUT BY COMPROMISING LEGITIMATE BUSINESS
E-MAIL ACCOUNTS THROUGH SOCIAL ENGINEERING OR COMPUTER INTRUSION TECHNIQUES TO

Rept Officer = —ss—“‘S*SSSSS Frinted Al 1 |
106124/BURGESS, BE too, NT/ORFONAT 14.90 a

    

 

 
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779322-17 okie
HOUSTON POLICE DEPARTMENT _

 

Narrative :
CONDUCT UNAUTHORIZED. TRANSFERS OF FUNDS. MOST VICTIMS REPORT USING WIRE TRANSFERS
AS A COMMON METHOD OF TRANSFERRING FUNDS FOR BUSINESS PURPOSES; HOWEVER, SOME
VICTIMS REPORT USING CHECKS AS A COMMON METHOD OF PAYMENT. THE FRAUDSTERS WILL USE
THE METHOD MOST COMMONLY ASSOCIATED WITH THEIR VICTIM'S NORMAL BUSINESS PRACTICES.

WHEN THE INVESTIGATIONS FIRST STARTED, IT APPEARED MANY SUSPECTS WERE OPENING BANK
ACCOUNTS USING THEIR TRUE NAMES AND INFORMATION. THE ACCOUNTS WOULD RECEIVE BEC
WIRES AND OTHER DEPOSITS FROM FRAUD VICTIMS. IN SHORT ORDER THE INVESTIGATION -
IDENTIFIED HUNDREDS OF ADDITIONAL BANK ACCOUNTS OPENED WITH COUNTERFEIT PASSPORTS
IN AND AROUND HOUSTON THAT WERE FUNDED WITH FRAUDULENT BEC WIRE TRANSFERS. ALL OF
THESE WIRES INVOLVE THE USE OF INTERSTATE WIRE GOMMUNICATIONS FACILITIES... MANY OF THE
FRAUDULENT ACCOUNTS ALSO RECEIVED FUNDS THAT WERE STOLEN FROM VICTIMS OF OTHER
ON-LINE AND INTERNET FRAUDS, LIKE "ROMANCE" AND "LOTTERY" FRAUD. ALL PASSPORTS AND US
VISAS MENTIONED IN THESE REPORTS AS COUNTERFEIT AND FRAUDULENT HAVE BEEN
DETERMINED TO BE SUCH BY SPECIAL AGENTS WITH THE DEPARTMENT OF STATE, DIPLOMATIC

SECURITY SERVICE.

THE FOLLOWING ISA PARABHRASE ‘SED STATEMENT GIVEN TO OFFICER BURGESS BY INSPECTOR
BOYDEN: ;

ow | . = i =—IN- O
INVESTIGATOR: WITH" WELES FARGO BANK.LOCATED_AT- AT -5202 KIRBY DRIVE,-I HARRIS:COU

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| INSBEGTOR BOVBEN-STATED THAT HE WAS CONTACTED BY. RINE? TONER: FRAUD |
NTY

\ ermanaceras 3,.20:

: FATA HARRIE REALE MIL IE ETI A ATI LIER TIE KEE AT AIA TTI TRE

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VTEXAS. cn

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_| INSPECTOR BOYDEN STATED: THAT HE DISCOVERED THE FOLLOWING FROM MRS. TILLMAN: /

048 WHE SUSPECT ENTERED ) AWELLS.F/ FARGO \9 -BANK-DOCATED-At. E520 7 KIRBORIVE
AND USED.A GHANAIAN PASSPORT ¥RO465560 INTHE NAME “JUSTIN ABE” TO OPEN A NEW BANK
ACCOUNT. PRIOR TO OPENING THE BANK ACCOUNT THE SUSPECT USED THE SAME PASSPORT ‘TO
OBTAIN AHARRIS COUNTY ASSUMED. NAME.CERTIFICATE-FOR-ABE.| MEDICAL SUPRLIES,.. THE.BANK
ACCOUNT WAS OPENED ONIMARCH™13, 2015, AT THELWELLS FAE FARGO BANK-LOCATED 4 AE-S202°K BBY |
DRIVE, HOUSTON, HARRIS COUNTY. TEXAS'77084. THE BUSINESS ACCOUNT WAS OPENED IN THE
NAME ABEJ MEDICAL SUPPLIES AND LISTED AN ADDRESS OF 12035 HUFFMEISTER RD. #937,

CYPRESS, TX 77429,

 

  

 

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(NSPECTOR- BOYOEN-STATED.- THAT HE-WAS-PROVIDED- WITHA STILL PHOTOGRAPH _EROMLA
CA AT THE WELLS: EARGO BANK-THAT: WAS TAKEN_OE THE SUSPEGT-WHILE/
THE NEW. W. ACCOUNT. GINS INSPECTOR-BOYDEN STATED-THAT-HE-REVIEWED_THE- 4E-PHOTOGRAP Hy
IGNIZED THE ‘SUSPECT. “INSPECTOR-BOYDEN-STATED THAT HE KNOWS THE SUSPECT. BY

earn nernpare nnn ren arena

see “BABAT UNDE A AND~THAT- THE HAS PREVIOUSLY INVES INVESTIGATED ASES
| ~SUSP CT . need

 
 
   
 

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SCENE DESCRIPTION

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THE OFFENSE OCCURRED ATA ASWIELES FARGO BAN : ANK COCATED AT £ 4955 HWY 6h N-IN-HOUS HOUSTON,

 

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HOUSTON POLICE DEPARTMENT ——

 

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KATIE IRR EER ENGI III RE TIE REET ENTERIC EIR ER IIE EEE IDE REI IAI IIIA IE, .

. OFFICER'S. ACTIONS .

FIER TITRE IE IRR TER AIRES IRE BEEN TERI AR HERE R ERR ERIE ERE ERIE

OFFICER BURGESS WAS PRESENTED WITH THE FOLLOWING EVIDENCE .FROM INSPECTOR
BOYDEN:

sy

1- NEW ACCOUNT. “APPLICATION AND SIGNATURE CARD FOR NEW WELLS FARGO ACCOUNT,

OPENED ON MAR CEL 5 2018g/

2- COPY OF HARRIS COUNTY CLERK OFFICE ASSUMED NAME RECORD FILED ON MAY 5, 2015
3- STILL PHOTO OF SUSPECT OPENING BANK ACCOUNT ONsMIAI RCH 13. 3, BOIS?

  

EREREERE ERR ERE EERE KIMI AERRER EER EEE EE ERK EER MELEE EERE RE ER ERE RERER

SUSPECT —

FHSS OOS HOES IS EES HORE RIE ISI EA wkxdt SR EIR ¥

SEE FOLLOW UP INVESTIGATION FOR SUSPECT INFORMATION

PRR A ERR RARER IEN ER RR ER ARE REAR EER EINE ERE TERE HERR EERE E RE REE EER

DISPOSITION

*_ MERAREEEAARERERERER HR REAKEERERRERERRERERLER ERE SER ERRERERE: ERRERERLAERKERERE

NO ARRESTS MADE

RREREEKEEEKEEREREREEREERLEEREEEEREREREERE EERE ER ILM IRIE EER KE REAR IEERIE RN

“EVIDENCE.

RRA NAR ATH RAIN EEA INTE IRIAN IE IAA ATEN NI ISNA AIAN NS AIA AI AAD ISAAC

THE ABOVE LIST OF EVIDENCE WILL BE KEPT WITH THIS CASE FILE UNTIL THE COMPLETION OF
THIS INVESTIGATION.

EKER EKREEKREKRERER LEER ERAKRERERELR MEG EAE KRERER ER EREE EERE EREBRRE ERITREA IAIN

- FOUND/RECOVERED PROPERTY

LKAKERERERL EEE RREEERKERER ERE AMEE RER KERR STE SASK HEHE E INE TAIT NES IANA ERE

NONE TAGGED
Report Officer Printed At |
106124/BURGESS. RE AT/9N/9NIT 14.90 naw. 4 -£ ¢c
Case 4:18-cr-00176 Document 95 Filed on 01/27/20 in TXSD Page 50 of 66

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HOUSTON POLICE DEPARTMENT _ . :

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779322-17 —G001
i - 0001
HOUSTON POLICE DEPARTMENT.
Involvement — Asrast Type  Atrast Date Aresitime . Booking No Situs Dispo .
Arrested | Arrested | 06/21/2017 | 09:34:00 | 17-29419 Booked j Felony
Arrest Address L - . : City

700 CAROLINE ST , oo : . . : Houston
DistBeat Transport Unit | Place of Birth City of Birth : Transpart By . “T Bistrict
1A10 1Y¥27D Nigeria | City Outside Houston Area ROSBOROUGH, K E 01
Physical Candition
CLASS. GOODS :
Charge Code : Level | Charge :
TAMPER GOVT REC- FEL EF Tampering W/ Govt Record ~ Fel
Authorized By a
113258 7
Arest Details - :
SUSPECT WAS ARRESTED “FOR OUTSTANDING FEL WARRANT FOR TAMPERING WITH A GOV
DOCUMENT. SGT KUCHTA #.113258. WARR # IS 1555911 COURT # 351 NO BOND ,
Charge Code Level | Charge Hold Divisian
~HOLD- FORGERY . HO| Hold For Forgery BY
Authorized By , . .
113258 —
Asrest Details ©
SUSPECT WAS ARRESTED FOR ‘OUTSTANDING FEL WARRANT FOR TAMPERING WITH A GOV
DOCUMENT. SGT KUCHTA # 113258. WARR # IS 1555911 COURT # 351 NO BOND
Gang Act? /

No BVNR
BWG Video(s}
Body Video Not Reviewed

 

 

 

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Case 4:18-cr-00176 Document 95 Filed on 01/27/20 in TXSD Page 52 of 66
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779322-17 — co02
HOUSTON POLICE DEPARTMENT

Reported Date
Hooston Paice Department . 06/21/2017.
1200 Travis Street -
Houston, Texas 77002 Offense Report Tite
SY 713-884-3131 Emergency Dial 94-1 inves tigation - ~ Forgery/ Fraud/ Counterfeit
= ome Officer Narne

 

 

 

BURGESS, B E

         

eee Information

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Agency Incident # Suppl No | Reparted Date Reported Time
HOUSTON POLICE DEPARTMENT 779322-17 0002 | 06/21/2017 14:25
Status Offense Report Title :
Report Written or to Follow Investigation ~- Forgery/Fraud/Counterfeit _
CAB Gall Type ———— : —
RMSR : . . . .
Address . . City
5202 KIRBY DR : : : ; Houston
ZIP Cade Dis!Beat Station District From Date From Time
77098 / 1A50 CENT | 01 03/13/2015 12:60 /
Officer Name f Employee# + Division
| BURGESS, B E-/ 106124 _ _| BNT.- Financial Crimes
Report Entered By / Employee# 7 : : Division
BURGESS, B E / 106124 BNT - Financial Crimes
RMS Transfer Property Trans Stat - Appraving Officer Approval Date - Approval Time
Successful | Successful |; 106124 06/21/2017 14:25:36

 

 

 

 

 

€ Offenses ! Offense

Dascription
Investigation ~ Forg |

Complaint Type
Citizen Request

     
  

  
 

       
 
 
   
   

Ganga? ThERe
No BYVNO
BWC Video(s)

Body Video No (No Camera Issued)

Brief Summary
SUSPECT ARRESTED AND CHARGED

 
  

 

 

 

 

Peta est ahtzsy
-|NCIDENT # 779322-17 |

INTRODUCTION TO FOLLOW-UP INVESTIGATION:

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ON JUNE 20, 2017, OFFICER B.E.BURGESS, ASSIGNED TO THE FINANCIAL CRIMES UNIT, WAS
ASSIGNED THIS CASE FOR THE PURPOSE OF A FOLLOW-UP INVESTIGATION. THIS CASE WAS
WORKED IN CONJUNCTION WITH THE UNITED STATES POSTAL INSPECTOR'S OFFICE.

THE INCIDENT REPORT WAS TITLED TAMPERING WITH A GOVERNMENT DOCUMENT.

     

THE. INCIDENT. ¢ OCCURRED-ON if
_ RBYODRIVE,_IN HOUSTON HARRIS: “COUNTY, TEXAS.

1) AT BAWELCS*FARGOZBRANC!

   

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CASE SYNOPSIS/CASE REVIEW:

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| THIS.CASE INVOLVES, A TAMPERING WITH 8, GOVERNMENT DOCUMENT THAT OCCURRED ON OR
/ ABOUTEMARCH 13 13, 2016/, ATS20TRIRBV-DRIVE.

 

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oe . . . ‘ : : . - A Li a
— oo SO 77932217 9002
HOUSTON POLICE DEPARTMENT _ |
Narrative
THE ORIGINAL REPORT, ENTERED BY OFFICER B.E.BURGESS, ASSIGNED TO THE FINANCIAL
CRIMES UNIT, DETAILED THE INITIAL INVESTIGATION CONDUCTED BY UNITED STATES POSTAL

INSPECTOR M. BOYDEN THAT FOUND THE SUSPECT USED A COUNTERFEIT PASSPORT TO OBTAIN A
BANK ACCOUNT. 7

- THIS FOLLOW-UP INVESTIGATION IDENTIFIED SEVERAL RELATED CASES TO INCLUDE (IN
CHRONOLOGICAL ORDER):

HPD CASE# 465490-16 AND HPD CASE# 778838-17:

THE SUSPECT IN THE ABOVE INCIDENTS
-BABAJIDE BABATUNDE B/M 01-06-84

WAS CHARGED WITH THE FOLLOWING FELONY:

CHARGE: FRAUD USE/POSS ID INFO
CAUSE #1506175 -
COURT: DC 351

CHARGE: TAMPERING WITH A GOVERNMENT DOCUMENT
© CAUSE #1555911
COURT: DC 351

PRELIMINARY FOLLOW-UP INVESTIGATION: |

WHITER ERIKA IAIN IIR EERE HE TIMI IHR

OFFICER BURGESS REVIEWED AND FAMILIARIZED HIMSELF WITH THE ORIGINAL OFFENSE REPORT
AND RELATED CASES. OFFICER BURGESS DISCOVERED THE SUSPECT WAS INVOLVED IN MULTIPLE
INCIDENTS INVOLVING TAMPERING WITH A GOVERNMENT DOCUMENT.

OFFICER BURGESS MET WITH INSPECTOR M. BOYDEN 10 DISCUSS POSSIBLE ‘CHARGES IN N THIS
CASE AND THE PRESENTATION OF EVIDENCE. TO THE HARRIS COUNTY. DISTRICT ATTORNEY'S

OFFICE,

OFFICER BURGESS CONDUCTED RESEARCH REGARDING THE PERSONAL AND CRIMINAL HISTORY,
AND WANTS OR WARRANTS ON THE INDIVIDUALS INVOLVED IN THIS CASE.

“ee CRIMINAL HISTORY AND INFORMATION ON SUSPEGT*****"™"

~ NAME: BABATUNDE, BABAJIDE TOLULOPE _ SID#:. TX 16167759
DOB: 01-06-84 - FBRE 611320NG8 .

RIS: BLACK/MALE SS# NONE

HT/WT:- 5-09/190 . HPD 1292125

SO# 2025463 © ;
TXDL/TXID#: 34607101

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779322-17 002
HOUSTON POLICE DEPARTMENT. _ :

Nee Ta acl Chie.

TATTOOS, MARKS, SCARS: NONE_

SUSPECT DRIVES: UNK —

ADD: 14906. WESTPARK DR #634

CUCO/STIZIP: HOUSTON,HARRIS, TEXAS,77082

ALTERNATE ADDRESS: NONE

WORK ADDRESS: NONE

HOME PHONE: NONE WORK PHONE: NONE

PHOTO ENCLOSED Y/N: NO PREVIOUS CRIMINAL HISTORY: YES

 

AT THE TIME OF THIS INQUIRY, THE SUSPECT WAS FOUND TO HAVE NO WANTS OR WARRANTS.

“THE SUSPECT HAD THE FOLLOWING CRIMINAL HISTORY: 7 \
TOTAL ARRESTS 1 . .

 

MOST RECENT OCCURRENCE | OFFENSE. SUMMARY ..
04-12-2016 1 FRAUD USE/POSS IDENTIFYING INFO #1TEMS 5<10.-
LAST ARRESTING AGENCY | TXHPD0000 - HOUSTON POLICE DEPARTMENT

FOLLOW-UP INVESTIGATIONS:

RREKERKLEAELEEEEEKERREEEREREEKERERERER

ON AW, iE 26, Gena OFFICER BURGESS MET WITH POSTAL INSPECTOR BOYDEN AND DISCOVERED
THE FOLLOWING DETAILS OF THIS INVESTIGATION:

INSPECTOR BOYDEN STATED THAT HE DISCOVERED ONMARCH STO, “FHE SUSPECT
BABATUNDE USEO A FABRICATEDGUINEANsRASSPORT TO OPEN: A NEW ACCOUNT AT_A WELLS?
EARGO-BANK LOCATED”AT-5202-KIRBY DRIVE, IN HOUSTON, HARRIS COUNTY, TEXAS,

INSPECTOR BOYDEN STATED THAT HE HAS SPENT THE LAST YEAR INVESTIGATING AND ASSISTING

_ INTHE PROSECUTION OF NUMEROUS SUSPECTS COMMITTING ILLEGAL WIRE TRANSFERS THROUGH

BANK ACCOUNTS OPENED USING COUNTERFEIT PASSPORTS. INSPECTOR-BOYDEN STATED THAT HE
WAS CONTACTED_BYAKIMBERLY LOWER, A

   

  

ELLS-FARGO-FRAUD-INVESTIGATOR,.REGARDING AN_
ACCOUNT THAT WAS OPENED ON-MARCH 73,2015, ATA BRANCH LOCATED ATL5202-KIRBY DRIVE,
USING A QUESTIONABLE [GUINEAN-PASSPORT| (NUMBER R0465560).

NH nae

 
  

OFFICER BUF RGESS AND INSPECTOR BOYDEN. WERE ABLE TO. OBTAIN THE(WELES- WELLS FARGO BANK,
ORDSOTHAT INCLUDED THE NEW ACCOUNT APPLICATION, A COPY OF PY OF THE GUINEAN:
SPORT (NUMBER R0465560), AND A SURVEILLANCE PHOTOGRAPH OF THE INDIVIDUAL OPENING

  

RTE NE NEW ACCOUNT.

INSPECTOR BOYDEN RECOGNIZED THE INDIVIDUAL DEPICTED IN THE SURVEILLANCE
PHOTOGRAPH AS THE SUSPECT BABAJIDE BABATUNDE. OFFICER BURGESS WAS ABLE TO OBTAIN A
RECENT BOOKING PHOTOGRAPH OF THE SUSPECT BABAJIDE BABATUNDE AND DISCOVERED THAT
THE BOOKING PHOTOGRAPH AND THE SURVEILLANCE PHOTOGRAPH WERE THE SAME INDIVIDUAL.

/ OFFICER BURGESS WAS ALLOWED TO REVIEW THE GUINEAN PASSPORI WOMSERIROZES5G0)7

-/ PRESENTED BY THE SUSPECT TO OPEN THE WELLS FARGO BANK ACGOQUNT. GEEIOER BURGESS
|| WAS ABLE TO _CONTACTKATE-LANDSTON, AN INVESTIGATOR WITH THE UNITED-STATES:STATE

| DEPARTMENT—IN- HOUSTON, TEXAS:-MRS~LANDSTON WAS.ABLE TO VERIFY THE AUTHENTICITY OF

fee Fi Lia rt an Bn LIA

 

   
 

 

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779322-17 — d002

HOUSTON | POLICE DEPARTMENT |

 

am Narrative

THE SUSPECT WAS ARRESTED WITHOUT-INCIDENT AND. TAKEN FROM THE GOURT TO THE 700
BLOCK OF CAROLINE, WHERE OFFICERS MET WITH TRANSPORT UNIT# 1Y27 (OFFICER K.E.
ROSBOROUGH). THE SUSPECT WAS TRANSPORTED TO THE CENTRAL JAIL FACILITY TO BE
-PROCESSED. ,

HOLD RELEASE:

REE KEKE CREE ERER

ON JUNE 21, 2017, AT APPROXIMATELY 16:00 HOURS, AFTER THE AFIS INFORMATION ON THE
SUSPECT BABATUNDE WAS RETURNED, OFFICER BURGESS RELEASED THE HOLD ON THE SUSPECT.

CASE CONCLUSION:

WERE RREREAR AERA RE .

THIS CASE INVOLVES -A TAMPERING WITH A GOVERNMENT DOCUMENT .THAT-OCCURRED ON OR
ABOUT We RCTS” AMS202 KIRBVEDRIY E, ALOCATION IN THE CITY LIMITS OF HOUSTON, HARRIS
COUNTY? TEXAS.

 
   

THE SUSPECT USED A COUNTERFEIT PASSPORT TO OBTAIN A BANK ACCOUNT.

INVESTIGATING OFFICER WAS ABLE TO GATHER EVIDENCE AND PRESENTED EVIDENCE TO THE
HARRIS COUNTY COURT HOUSE.

SUBSEQUENT FOLLOW UP INVESTIGATION CONDUCTED BY OFFICER BURGESS RESULTED IN THE |
CHARGING OF THE SUSPECT FOR TAMPERING WITH A GOVERNMENT DOCUMENT.

CHARGE INFORMATION:

KERRI ERE RE REECE EREE

CHARGE: TAMPERING WITH A GOVERNMENT DOCUMENT
CAUSE ## 1555912 : J
COURT SET IN: DIST 351

BOND AMOUNT; NO BOND

SUSPECT STATUS:

Ando ation iie ; oe . ee . oe . 1

ARRESTED AND CHARGED

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THE STATE OF TEXAS 0284 . D.A. LOG NUMBER: 2363829
‘BABAJIDE TOLULOPE BABATUND _— BY: GC DANO. 2338
: PE BABATUNDE spn: ‘BY: GC DA NO; 2333841
vous eS TPARK DR, APT #634 DOB: B M 1/6/1984 AGENCY-HPD
TON, TX 77082 -DATE PREPARED: 6/20/2017 _O/R NO: 77883817
ARREST DATE: TO BE
NCIC CODE: 4802 32 | RELATED CASES: SAME DEF-2FEL - s
FELONY CHARGE: TAMPERING GOVERNMENTAL RECORD Bey
_ CAUSE:NO: 1585911
HARRIS COUNTY DISTRICT COURT NO: os

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Ex

 

. FIRST SETTING DATE:

 

 

IN THE NAME AND BY AUTHORITY OF THE STATE OF TEXAS:

Before se, the undersigned Assistant District. Attorney of Harris County, Texas, this day d the undersigned affiant, who under oath says
that he has good reason to believe atid does believe that in Harris County, Texas, BAB TOLULOPE BABATUNDE , hereafter styled
the Defendant, heretofore on or about March 13, 2615, did then and there unlawfully,dt2ntionally and knowingly present and use a record ,
attached hereto as Exhibit A, with knowledge of its falsity and with the intent tha taken as a genuine governmental record, to-wit:

 
   
 

YOUR AFFIANT, BRANDON BURGESS, IS A TEXAS PE?
YOUR AFFIANT BELIEVES AND HAS REASON TO(BEEIEVE THAT BABAJIDE TOLUOPE BABATUNDE, HEREAFTER

REFERRED TO AS THE DEFENDANT, COMMITESESPHE FELONY OFFENSE OF TAMPERING WITH A GOVERNMENT
RECORD WITH INTENT TO DEFRAUD ON OR ABQUT MARCH 13, 2015, IN HARRIS COUNTY, TEXAS.
YOUR AFFIANT BASES HIS BELIEF ON THEERELOWING .

YOUR AFFIANT BECAME AWARE or flip cipent WHEN HE WAS ASSIGNED TO COMPLETE A FOLLOW UP
INVESTIGATION UNDER HOUSTON POEICE DEPARTMENT INCIDENT NUMBER 779322-17, INVOLVING A JOINT
INVESTIGATION BETWEEN THE {J ViAED STATES POSTAL INSPECTION SERVICE AND THE HOUSTON POLICE
-DEPARTMENT. INVESTIGATOR Gia OVERED THAT ON MARCH 13, 2015, THE DEFENDANT BABATUNDE USED A
FABRICATED GUINEAN PASSRORY TO OPEN A NEW ACCOUNT AT A WELLS. FARGO BANK LOCATED AT 5202 KIRBY

|
|
DRIVE, IN HOUSTON, HARRISSSOUNTY, TEXAS. |
YOUR AFFIANT HAS SPOR WITH INSPECTOR MATTHEW BOYDEN, A CREDIBLE AND RELIABLE PERSON, EMPLOYED

|

Guinea passport and the actions of the defendant were done with the intent to daffaud and harm another... -
PROBABLE CAUSE: oS : '

   
   
   
   

    
   

BY THE UNITED STATE ‘AL INSPECTION SERVICE. INSPECTOR BOYDEN STATED THAT HE HAS SPENT THE LAST

YEAR INVESTIGATING AND ASSISTING IN THE PROSECUTION OF NUMEROUS SUSPECTS COMMITTING ILLEGAL WIRE

TRANSFERS THROUGH BANK ACCOUNTS OPENED USING COUNTERFEIT PASSPORTS. INSPECTOR BOYDEN STATED

THAT HE WAS CONTACTED BY KIMBERLY LOWER, A WELLS. FARGO FRAUD INVESTIGATOR, REGARDING AN ACCOUNT

THAT WAS OPENED ON MARCH 13, 2015, AT A BRANCH LOCATED AT 5202 KIRBY DRIVE, USING A QUESTIONABLE

GUINEAN PASSPORT (NUMBER R0465560). YOUR AFFIANT AND INSPECTOR BOYDEN WERE ABLE TO OBTAIN THE

WELLS FARGO BANK ACCOUNT RECORDS THAT INCLUDED THE NEW ACCOUNT APPLICATION, A COPY OF THE

GUINEAN PASSPORT (NUMBER R0465560), AND A SURVEILLANCE PHOTOGRAPH OF THE INDIVIDUAL OPENING THE

NEW ACCOUNT. FROM PREVIOUS INVESTIGATIONS, INSPECTOR BOYDEN RECOGNIZED THE INDIVIDUAL DEPICTED IN

THE SURVEILLANCE PHOTOGRAPH AS THE DEFENDANT BABAJIDE BABATUNDE, YOUR AFFIANT WAS ALSO ABLE TO

OBTAIN A RECENT BOOKING PHOTOGRAPH OF THE DEFENDANT BABAJIDE BABATUNDE AND YOUR AF FLANT. i
\DISCOVERED THAT THE BOOKING PHOTOGRAPH AND THE SURVEILLANCE PHOTOGRAPH WERE THE SAME _

NDIVIDUAL. . . " |
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YOUR AFFLANT WAS ABLE. TO REVIEW THE GUINEAN Pi Moe (NUMBER R0465560) PRESENTED BY THE DEFENDANT
TG OPEN THE WELLS FARGO BANK AGCOEINT: 1:YOU. IRAERIANT:A WAS-ABLE TO CONTACT KATE LANDSTON, AN
INVESTIGATOR WITH THE UNITED STATES STATE DEPARTMENT, ‘INsHOUSTON, TEXAS, YOUR.AFFIANT ASKED MR8.
LANDSTON TO VERIFY THE AUTHENTICITY.OF THE; : PASSPORT: “MRS, “LANDSTON INFORMED YOUR AFFIANT THAT THE
PASSPORT WAS IN FACT A FORGERY-AND.-THE PASSPORT-NUMBERWAS FABRICATED. ,

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AGAINST THE PEACE. AND DIGNITY OF THE STATE, . . we

Sworg to and subscribed before me on June 20, 2017 6, @ i

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Sw NT DISTRICT ATTORNEY
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Falsification and Inconsistency in Inspector's and Polic¢
Complainants and Report.

Report # 778838-17

Exhibit 1 - Initial Report by Mathew Boyden (United States
Postal Inspector).
- Made on 06/20/2017
- To and recorded by Officer Brandon Burgess (106124)

*(See incident Address and date)

Exhibit 2 - Reportee's information and Complaint interview
06/20/2017
-Says Officer Burgess was contacted by United States»
Postal Inspector Mathew Boyden

~Discussed investigation of a Ghanian passport used

 

to open an account at First Convinience Bank at
4955 Hwy 6 N; Houston on August 3,2015.
(Please note the name of Bank,Address,date and

nacionalty of Passport).

Exhibit 3 -Inspector Boyden made a "PARAPHRASED" statement
entered by Officer Burgess.
-Inspector Boyden said he was contacted by RENEE

TELLMAN. The Manager of First Convinience Bank

 

located at 4955 Hwy 6 N.
-Inspector Boyden stated that on August 3,2015, a

Ghanian passport (#R0465560) was used to open a bank

Pies

account out the above named Bank and location~
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|

First Convinience Bank, 4955 Hwy 6 N.

-Inspector Boyden stated that he rbcognized the
Defendant Babajide Babatunde from the survillance
camera at First Convinience Bank as someone is has
previously investigated(on his radar).

-Scene description reaffirms the location of the
offense at First Convienece Bank at 4955 Hwy 6 N.

Ce
in Houston. (Warrant obtained and suspect awested..

Exhibit 4 -06/21/2017, Follow up investigation after warrant
obtained and suspect awested.
'-NOw, Officer Burgess stated that incident occurred
on August 3,2016 at First Convinience Bank at 4955
Hwy 6 N, Houston.

-Officer Burgess reaffirms he worked in conjuction

with Inspector Mathew.

Exhibit 5.--Officer Burgess reviewed and familiarized himself
with the report.
-Officer Burgess metwith Inspector Boyden to discuss

charges.

Exhibit 6 -Officer entered that Defendant had previous criminal
history over a case that was still pending on court.
He did this is validate his falsification.
-In a follow up investigation, Officer Burgess said

he met with Inspector Boyden on 06/20/2017.
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Exhibit 7

Exhibit 8

Exhibit 9

-Officer Burgess stated that the suspect used a
fabricated Guinean passport to open an account on
March 13,2016, at First Convinience Bank,’ 4955 Hwy 6
N, Houston.

(Please note that it was formally a Ghanian
Passport and the date has also changed from August 3,
2015 to August 3,2016, and now to March 13,2016, them
March 13,2015. |

-Inspector Boyden said he was contacted by Kimberly

_Lower of same First Convinience Bank at 4955 Hwy 6 N,

about an account that was opened March 13, 2015, using

a questionable G enean Passport (RO465560).

Gs

-~Officer Burgess reviewed Passport (Guinean Passport
R0465560)

-Officer Burgess contacted Kate Landston, an
Investigator with U.S. Department of State to verify

passport for anthemticity.

-06/20/2017 - case presented to D.A.

-Warrant issued.

-Arrest made
-Case conclusion stated date of incident on August 3,

2016.

-06/20/2017 ~ Another report by repoter Inspector

Mathew Boyden same day incident # 779322-17.
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Exhibit 10 -Reported an indident that occurred at Wells Fargo
-Bank at 4955 Hwy 6 N, Houston (note that is same
address for First Cinvinience Bank) on March 13,2015
using a Ghanian passport. |
~Inspector Boyden stated he was contacted by Kimberly

Lower of Wellsfargo Bank at 5202 Kirby Dr. Houston.

_-Them also inconsistently stated that it was Mrs.

to a Ghanian passport. ’
-At the scene description, he said it was at

Wellsfargo Bank at 4955 Hwy 6 N, Houston,Texas -/ Sy te ond

‘First Convinience Bank address)
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Exhibit 11 -Arrest Address entered 700 Carroline St. Real Place

of arrest- 1201 franklin St, Houston (Harris County Court).

Exhibit 12 -Follow up Investigation
-Says incident occurred March 13,2016 at Wellsfargo on

5202 Kirby Dr. Houston.

Exhibit 13 -Officer Burgess met with Inspector Boyden to discuss

charges and,

Exhibit 14 -Stated March 13,2015 suspect used a Guinean passport
(CRO46556) to open wellsfargo account on 5202 Kirby
Drive, Houston.
-Inspector Boyden stated he was contacted by KImberly
Lower of Wellsfargo.
Note: (Kinberly was formally identified as a staff of First
Convienence Bank).

-The dame verbatim statement followed as that of report
4

778838-17.
Exhibit 15 -Case Conclusion
-Incident happened on or about, March 13,2006 at 5202
Kirby Dr, Houston.
(By "on or about" shouldn't imply same day but

reasonably close date)
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Exhibit 16 — The Affiant, Officer Brandon Burgess under Oath
expresses Inspector Mathew Boyden as a credible
and reliable person acting under the color of the
United States Postal Inspection Service. This, am

act to validate the accurancy of the report.
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Eric L Rhodes

Payment to SEricLRhoaes

 

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Eric L Rhodes
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